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15
                                     UNITED STATES DISTRICT COURT
16
                               NORTHERN DISTRICT OF CALIFORNIA
17
                                           OAKLAND DIVISION
18

19   IN RE COLLEGE ATHLETE NIL                         Case No. 4:20-cv-03919 CW
     LITIGATION
20                                                     DECLARATION OF STEVE W. BERMAN IN
                                                       SUPPORT OF PLAINTIFFS' MOTION FOR
21                                                     ATTORNEYS’ FEES, REIMBURSEMENT
                                                       OF LITIGATION EXPENSES, AND
22
                                                       SERVICE AWARDS FOR CLASS
23                                                     REPRESENTATIVES

24                                                     Hrg. Date:            April 7, 2025
                                                       Time:                 10:00 a.m.
25                                                     Judge:                Hon. Claudia Wilken
                                                       Courtroom:            2, 4th Floor
26

27

28

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 1            I, STEVE W. BERMAN, declare as follows:

 2            1.       I am an attorney duly licensed to practice law before this Court. I am a member of the

 3   Washington Bar, and I have been admitted to this Court pro hac vice. I am the managing partner of

 4   Hagens Berman Sobol Shapiro LLP (“Hagens Berman”) and counsel for Plaintiffs (“Plaintiffs”).

 5   Hagens Berman, alongside Winston & Strawn LLP (“Winston & Strawn”), are counsel of record for

 6   the Plaintiffs in this matter, having been appointed Co-Lead Class Counsel (“Co-Lead Class

 7   Counsel”) for the certified damages and injunctive relief Classes by this Court. ECF No. 387 at 52;

 8   ECF No. 323 at 10. Co-Lead Class Counsel worked alongside Spector, Roseman & Kodroff, P.C.

 9   (“Spector Roseman”), who as counsel for Plaintiff Tymir Oliver has been supporting counsel in this

10   litigation. Hagens Berman, Winston & Strawn, and Spector Roseman are collectively referred to

11   herein as “Class Counsel.” Unless otherwise noted, all subsequent ECF references are to this case.

12            2.       As explained in more detail infra, Hagens Berman filed House v. NCAA on June 15,

13   2020. Shortly thereafter, on July 8, 2020, Spector Roseman filed the complaint in Oliver v. NCAA,

14   alleging claims and a proposed class substantially similar to those in House. On July 19, 2021,

15   Winston & Strawn joined the litigation as co-counsel for Plaintiffs and the cases were subsequently

16   consolidated as In re College Athlete NIL Litigation. ECF No. 154. On December 7, 2023, Hagens

17   Berman and Winston & Strawn filed Carter v. NCAA, No. 3:23-cv-06325-RS (N.D. Cal.). On July

18   26, 2024, the Carter claims were consolidated into the operative Second Amended Complaint in this

19   action. ECF No. 448. Class Counsel subsequently filed the Third Consolidated Amended Class

20   Action Complaint (ECF No. 448-1), which is the operative complaint in this action. See ECF No.

21   543. These cases are referred to herein collectively as “College Athlete NIL Litigation” or “this

22   action.”

23            3.       I submit this declaration in support of the Plaintiffs’ Motion for Attorneys’ Fees,

24   Reimbursement of Litigation Expenses, and Service Awards for Class Representatives in this action

25   (“Motion”). The purpose of this declaration is to summarize and provide detailed documentation of:

26   (a) this action; (b) the work performed by Class Counsel; (c) the time and fees incurred by Class

27   Counsel in prosecuting this action; (d) the costs and expenses for which Class Counsel seek

28                                                       -1-
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 1   reimbursement, including the costs and expenses from the Litigation Fund, which Class Counsel

 2   funded; (e) the steps Class Counsel employed to ensure effective management of this complex

 3   litigation; and (f) the work performed by the class representatives in support of this action.

 4            4.       In addition to this declaration, Jeffrey Kessler and Jeffrey Kodroff submitted

 5   individual declarations on behalf of their respective firms, Winston & Strawn and Spector Roseman,

 6   in support of this Motion. In this declaration, these individual declarations, which are submitted

 7   concurrently herewith, are referred to as the “Kessler Decl.” and “Kodroff Decl.”

 8            5.       Class Counsel has prosecuted this action solely on a contingent-fee basis, without the

 9   use of outside funders, with no upfront retainer fees or allowance for expenses, and has been at risk

10   of not receiving compensation for prosecuting the claims against the Defendants. These attorneys and

11   their firms devoted substantial time and resources to this matter, and have foregone other legal work

12   for which they otherwise would have been compensated.

13   I.       BACKGROUND

14   A.       Overview of Work Undertaken by Class Counsel

15            6.        The settlement achieved in this case represents the culmination of more than four

16   years of hard-fought litigation, including extensive motion practice and discovery, and considerable

17   time, effort, and skill from Class Counsel. The litigation was also part of an extensive campaign over

18   the course of more than a decade, led in substantial part by Class Counsel, challenging Defendants’

19   anticompetitive rules, including their compensation rules that have deprived college athletes for

20   decades of their fair share of the billions of dollars made from college sports. One prominent example

21   is the lengthy litigation in Alston, where the injunctive relief obtained by Class Counsel was

22   ultimately affirmed unanimously by the Supreme Court.

23            7.       In this litigation, Class Counsel have devoted significant resources to prosecuting the

24   case against vigorous opposition by powerful, well-funded defendants who were represented by more

25   than a dozen of the best law firms in the world. A detailed description of the work performed by each

26   firm seeking fees and reimbursement of expenses is set forth herein and in the Declaration of Jeffrey

27   A. Kessler, concurrently submitted herewith.

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 1            8.        Hagens Berman pioneered the investigation and filing of this litigation. Hagens

 2   Berman began investigating this case nearly a year before filing a complaint, before college athletes

 3   achieved a historic Supreme Court victory in Alston. These time-intensive pre-suit efforts included:

 4
                       Researching the commercial landscape surrounding Division I college athletics, along
 5
                        with the relationships between the NCAA, Conference Defendants, member schools,
 6
                        and their business partners;
 7
                       Analyzing legal theories and prospective remedies;
 8
                       Consulting with experts to discuss various issues that would be presented in the case,
 9
                        including relevant markets and less restrictive alternatives;
10
                       Reviewing public information and statements from Defendants and their member
11
                        institutions;
12
                       Interviewing college athletes and prospective named plaintiffs; and
13
                       Conferring with advocacy groups and other college sports stakeholders to seek their
14
                        advice on the litigation.
15

16            9.        After completing this extensive preparation and due diligence, Hagens Berman filed

17   the initial complaint in House v. NCAA on June 15, 2020. Shortly thereafter, on July 8, 2020, Spector

18   Roseman filed the complaint in Oliver v. NCAA alleging claims and a proposed class substantially

19   similar to those in House. This Court subsequently related Oliver to House. ECF No. 92. On July 19,

20   2021, Winston & Strawn joined the litigation as co-counsel for Plaintiffs and the cases were

21   subsequently consolidated as In re College Athlete NIL Litigation. ECF No. 154.

22            10.       On September 11, 2020, Defendants moved to dismiss both cases, arguing primarily

23   that Plaintiffs’ claims were barred by this Court’s prior decisions in O’Bannon and Alston under the

24   doctrine of stare decisis. ECF No. 101. Defendants also advanced several different arguments that

25   Plaintiffs’ proposed “Group Licensing Damages Subclass” should be dismissed, and further moved

26   for dismissal of Plaintiff Oliver’s claims for lack of standing. Plaintiffs vigorously opposed dismissal,

27   filing a detailed brief and presenting oral arguments addressing each of the complex issues raised in

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 1   Defendants’ motion. ECF No. 102.

 2            11.      On January 15, 2021, while their motion to dismiss was still pending, Defendants filed

 3   a motion to stay discovery in House and Oliver pending the Supreme Court’s decision in Alston. ECF

 4   No. 138. Plaintiffs again opposed this motion, arguing that a stay would “delay any injunctive relief,

 5   harming Plaintiffs and the putative class.” ECF No. 142 at 2-3. Class Counsel’s efforts were

 6   successful and, on February 25, 2021, the Court denied Defendants’ motion and allowed discovery to

 7   proceed. ECF No. 149. On June 21, 2021, the Supreme Court issued its opinion in Alston, upholding

 8   this Court’s ruling in favor of the college athlete plaintiffs in a unanimous 9-0 decision. NCAA v.

 9   Alston, 141 S. Ct. 2141 (2021). Three days later, on June 24, 2021, this Court denied Defendants’

10   motion to dismiss the House and Oliver cases except as to a narrow issue specific to Plaintiff Oliver’s

11   injunctive relief claims, which Plaintiffs did not oppose. ECF No. 152. Immediately following these

12   early victories in this case, on July 1, 2021, the NCAA changed its rules to allow college athletes to

13   earn at least certain types of NIL compensation from third parties for the first time ever. Although the

14   NCAA described this rule change as an “interim” policy and it certainly did not eliminate all of

15   Defendants’ NIL rules, it was a monumental achievement that has revolutionized college sports and

16   immensely benefitted college athletes by creating a thriving nine-figure NIL market.

17            12.      On July 19, 2021, Winston & Strawn joined the litigation as co-counsel for Plaintiffs

18   and the cases were subsequently consolidated as In re College Athlete NIL Litigation. ECF No. 154.

19   Plaintiffs filed a Consolidated Amended Complaint on July 26, 2021. ECF No. 164. Throughout the

20   litigation, Class Counsel collaborated to decrease duplication of effort and increase case efficiency.

21   To lay the groundwork for discovery, Class Counsel negotiated a set of detailed protocols with

22   minimal court intervention, including ESI Protocols (ECF No. 132), Expert Discovery Protocols

23   (ECF Nos. 131, 214, 260, 261, 262), Deposition Protocols and amendments thereto (ECF Nos. 213,

24   224), and Protective Orders and amendments thereto (ECF Nos. 137, 148, 181). This included

25   negotiating a protective order with complex provisions regarding the treatment of network strictly

26   confidential information, which required involving numerous third-party broadcasters, given the

27   highly confidential nature of this information that was necessary to the case.

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 1            1.       Class Counsel Obtained Substantial Discovery on Behalf of the Settlement
                       Classes.
 2
              13.      Often over Defendants’ objections and the objections of scores of third parties, Class
 3
     Counsel succeeded in obtaining broad discovery and devoted substantial resources to analyzing the
 4
     complex information produced for both class certification and merits analysis.
 5
                       a.     Written and Document Discovery
 6
              14.       Class Counsel propounded detailed written discovery, including 79 document
 7
     requests (in four sets) and five interrogatories on all six Defendants.
 8
              15.      The parties’ discovery requests generated a large discovery record that Class Counsel
 9
     analyzed to develop their claims. For example, in response to Plaintiffs’ interrogatories, Defendants
10
     produced around 125 pages of supplemental responses, including the SEC’s supplemental response
11
     that listed over 250 bates-numbered documents in response to a single interrogatory. Defendants
12
     ultimately produced 190,938 documents and 1,627,031 pages of documents, carefully reviewed by
13
     document review teams of Hagens Berman and Winston & Strawn. Few, if any, of these discovery
14
     requests were uncontested; therefore, responses and productions occurred after multiple rounds of
15
     telephonic and written meet-and-confer communications, including negotiations surrounding search
16
     terms, names of custodians, scope, redactions, and privilege arguments, which spanned multiple
17
     years. These document productions were in addition to the hundreds of thousands of documents
18
     produced in previous-related cases, including Alston, that were deemed produced in this case and
19
     make up a large portion of the discovery record that Class Counsel and their experts had at their
20
     disposal and relied on at class certification and for the merits. ECF No. 137.
21
              16.      Defendants’ productions included complex and highly confidential licensing contracts
22
     with broadcast networks that required notifying and conferring with multiple third parties before
23
     production. As the litigation progressed, this also required production of recently announced
24
     broadcast agreements that were highly sensitive and confidential. Other important documents such as
25
     each Defendants’ confidential financial data that were essential for class certification and any
26
     damages analysis were also produced.
27

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 1            17.      Class Counsel also worked with the named plaintiffs to gather information and

 2   documents responsive to extensive discovery propounded by Defendants. Unlike some class cases

 3   where plaintiff-side discovery receives limited attention, the class representatives here were a

 4   significant focus in the case because of their successful athletic careers, NIL value, and previous

 5   public statements regarding NCAA policies. Defendants’ discovery requests were thus far more

 6   substantive and consequential. For example, two named plaintiffs had to produce all communications

 7   related to their NIL value over multiple years. Defendants served 28 document requests and 14

 8   interrogatories each on three of the named plaintiffs.

 9            18.      Finally, Class Counsel also completed discovery-related briefing to effectively address

10   the Defendants’ supplemental initial disclosures—identifying 37 new witnesses with limited time

11   before fact discovery closed. ECF No. 372-2. Plaintiffs received an extension to the fact discovery

12   deadline to depose a number of these individuals and did so. ECF No. 374.

13            2.       Individual and 30(b)(6) Depositions

14            19.       Class Counsel also pursued and conducted 40 fact depositions in this litigation, with

15   979 exhibits introduced by Plaintiffs at these depositions. The deponents questioned by Plaintiffs’

16   counsel included the former president of the NCAA, current and former commissioners of each of the

17   Conference Defendants, college athletic directors and coaches, and numerous other university

18   representatives. Plaintiffs also issued 30(b)(6) deposition notices to each of the six Defendants, with

19   each having at least 20 topics. Defendants chose to spread these topics over several witnesses, so

20   Class Counsel questioned these witnesses as individuals as well as corporate representatives of

21   Defendants. Plaintiffs also prepared extensively for, and defended, three class representative

22   depositions. To maximize class recovery and minimize costs, Class Counsel used a lean team to take

23   depositions and execute all other projects.

24            3.       Class Counsel Engaged in Critical, Extensive Third-Party Discovery

25            20.       Once the NCAA implemented new NIL rules on July 1, 2021, hundreds of third

26   parties immediately became involved in monitoring and valuing college athlete NIL. This created an

27   unprecedented “natural experiment” mirroring Plaintiffs’ but-for world, and therefore crucial to

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 1   document for class certification, expert reports, and merits arguments in the litigation.

 2            21.      NCAA Division I member schools alone accounted for over 300 new NIL databases

 3   where athletes reported third-party NIL deals. These schools and other third parties were not named

 4   as Defendants and required subpoenas to acquire this data that would be a foundation for damages

 5   models. Class Counsel served over 150 third-party subpoenas on NCAA member schools, each of

 6   whom had their own internal or external counsel requiring separate negotiations for each school.

 7   Negotiations took place over many months, including delays and resources dedicated to FERPA

 8   notifications prior to production. Many of these negotiations were protracted and painstaking. In two

 9   instances, counsel secured documents only after successfully moving to compel. See Agreed Order

10   on Petitioners’ Motion to Compel Compliance with Rule 45 Subpoena, House v. Florida

11   International University, No. 22-MC-20214-DPG, (S.D. Fla. Sept. 2, 2022), ECF No. 29. That

12   success afforded Class Counsel greater leverage to secure critical documents from other schools that

13   initially refused to comply with Plaintiffs’ subpoenas, either in whole or in substantial part.

14            22.      Class Counsel additionally negotiated supplemental productions of NIL deal data for a

15   second academic year with each school, and 70 of those schools required second subpoenas. The NIL

16   deals produced over two years by schools, and other third parties, formed a substantive database that

17   Plaintiffs’ experts relied on for damages modeling at class certification and the merits stage of the

18   case.

19            23.       Additionally, Class Counsel subpoenaed over 26 third-party companies who

20   previously or were currently involved in deals with college athletes and/or Defendants, and eight

21   professional leagues and professional player associations to acquire pivotal licensing rates, revenue

22   assessments, contractual agreements, and other necessary information for Plaintiffs’ expert reports.

23   Each of these third parties had separate counsel, separate requests, and required sustained negotiation.

24   Class Counsel was able to reach agreements with nearly all third parties, as well as with Defendants

25   to stipulate to new confidentiality levels in the Protective Order and third-party productions between

26   parties. ECF Nos. 177, 180.

27            24.      Class Counsel, in addition to written discovery, spent considerable time and resources

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 1   deposing third parties as well. These third parties included individuals with high profiles in the word

 2   of college sports, including Jim Harbaugh, Oliver Luck, Brett Rocky Harris, Frank Busch, and

 3   specific school representatives from Michigan State University and the University of Oregon.

 4            4.       Class Certification

 5            25.      Plaintiffs achieved unprecedented success in this litigation by obtaining class

 6   certification of an injunctive relief class and three large damages classes. In previous cases

 7   challenging NCAA compensation rules, such as in O’Bannon, certification of damages classes was

 8   denied. See In re NCAA Student-Athletes Name & Likeness Licensing Litig., 2013 WL 5979327, at

 9   *10 (N.D. Cal. Nov. 8, 2013).1 In certifying the damages classes here, the Court found Plaintiffs’

10   experts’ classwide damages methodology for three types of damages—NIL broadcast damages, NIL

11   videogame damages, and individual lost opportunity NIL damages—none of which had ever been

12   certified before, and which totaled billions of dollars in potential damages, to be reliable, placing

13   enormous pressure on Defendants to settle. Due to this pressure, Defendants asked the Ninth Circuit

14   to grant 23(f) interlocutory review of the class certification order, which Plaintiffs opposed and the

15   Ninth Circuit denied.

16            26.      The class certification victory came only after extensive briefing and expert work,

17   which was particularly challenging here because of the previous failed attempts to have damages

18   classes certified and the challenges in showing that the Rule 23 requirements were satisfied for the

19   novel damages claims presented. To support class certification, Class Counsel worked close with

20   prominent testifying experts, including sports economist, Daniel Rascher, and industry broadcasting

21   expert, Ed Desser, whose work was seminal to Plaintiffs’ claim for Broadcast NIL damages. Mr.

22   Desser’s testimony was essential in part due to the unique nature of Defendants’ rules during the

23   class period that prohibited pay-for-performance and direct payments for NIL, and Plaintiffs’ claim

24

25       1
           See also Rock v. Nat’l Collegiate Athletic Ass’n, 2016 WL 1270087, at *14 (S.D. Ind. Mar. 31,
     2016) (class certification denied to a class of athletes challenging limits on the number and duration
26   of athletic scholarships); In re NCAA I-A Walk-On Football Players Litigation, 2006 WL 1207915,
     at *1, *3, *15 (W.D. Wash. May 3, 2006) (class certification denied in class action challenging the
27   NCAA’s scholarship limits).
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 1   that damages for denial of broadcast NIL payments could be quantified.

 2            27.      Defendants opposed class certification with more than a dozen fact declarations and

 3   three experts, including Harvard University professor Catherine Tucker, industry broadcasting expert

 4   Bob Thompson, and University of North California professor Barbara Osborne. In total, the class

 5   certification expert reports supporting Plaintiffs’ and Defendants’ briefing totaled 1009 pages,

 6   exclusive of backups. The class certification briefing included not only the motion for class

 7   certification, an opposition, and a reply, but also supplemental class certification briefs (ECF Nos.

 8   332, 335), as well as Daubert motions by both sides. All the parties’ respective class certification

 9   experts were deposed. Professor Rascher was deposed twice. See ECF Nos. 303, 307, 308.

10            28.      In achieving their class certification victory, Class Counsel successfully opposed

11   Defendants’ Daubert Motion of Mr. Desser, whose testimony was seminal to the claim for Broadcast

12   NIL damages. Additionally, based on Plaintiffs’ motion and Class Counsel’s deposition of Professor

13   Osborne, the Court struck Professor Osborne’s class certification opinions in their entirety. ECF No.

14   385. Following certification of the litigation classes, Plaintiffs completed notice to the classes. See

15   ECF Nos. 402, 404-407.

16            5.       Merits Discovery and Expert Reports, Followed by Summary Judgment

17            29.      After class certification and the close of discovery, the parties proceeded to multiple

18   rounds of merits briefing and discovery, including 15 separate merits experts reports that totaled over

19   1800 pages, requiring significant time and resources in a short timeframe of five months.

20            30.      To effectively anticipate and defend against Defendants’ merits arguments, Class

21   Counsel expended necessary resources to retain two additional merits experts to address the proffered

22   procompetitive justifications and procompetitive effects put forth by the Defendants, such as the

23   impact on consumer viewership and attendance and the decrease of compensation to a broader set of

24   college athletes. Plaintiffs’ experts were also required to respond to five separate merits rebuttal

25   reports filed by Defendants—alone totaling over 579 pages.

26            31.      The extensive expert reports and discovery in this action led to each party deposing

27   multiple experts in March 2024 prior to summary judgment briefing and the close of expert

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 1   discovery. Between March 5 and March 27, 2024, Class Counsel deposed five of Defendants’ merits

 2   experts and defended four of Plaintiffs’ own merits experts’ depositions. This testimony, and the

 3   expert reports themselves, were then used extensively in Class Counsel’s motion for partial summary

 4   judgment on Section 1 liability, based on the argument that evidence was undisputed that Defendants

 5   maintained a restriction to fix NIL compensation, there were no procompetitive benefits to this

 6   restriction, and that there were less restrictive alternatives. See e.g., ECF No. 415, Exs. 1-10. The

 7   motion also incorporated extensive factual discovery Class Counsel obtained. Plaintiffs also

 8   dedicated significant briefing to move to exclude portions of Defendants’ affirmative merits experts’

 9   testimony.

10            32.      These motions were filed on April 3, 2024, less than two months prior to notice of the

11   pending settlement agreement, evidence of Class Counsel’s vigorous representation at every stage of

12   the litigation.

13            6.       Carter

14            33.      On December 7, 2023, House plaintiff Sedona Prince and two other current college

15   athletes, DeWayne Carter and Nya Harrison, filed Carter v. NCAA, No. 3:23-cv-06325-RS (N.D.

16   Cal.), renewing the challenge against the NCAA’s prohibition on compensation for athletic services

17   that began with Alston. Class Counsel had conducted extensive discovery regarding the NCAA’s

18   restrictions on athlete benefits during their representation of the plaintiffs in Alston. See Nat’l

19   Collegiate Athletic Ass’n v. Alston, 594 U.S. 69, 80 (2021) (noting that the parties submitted

20   “volumes of evidence and briefing” to this Court in Alston). They were thus well-aware of the legal

21   issues that would be at play in any litigation challenging the NCAA’s restrictions on athlete benefits,

22   the evidence that existed related to those issues, and the challenges to (among other things) certifying

23   damages classes. The evidence collected during discovery in House was also related to a variety of

24   issues relevant to claims for additional compensation for athletic participation. For example, the

25   evidence Plaintiffs had collected about Defendants’ procompetitive justifications in House is relevant

26   to their claims for additional compensation for athletic participation.

27            34.      On July 26, 2024, the Carter claims were consolidated in the operative Second
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 1   Amended Complaint (ECF No. 448), filed concurrently with Plaintiffs’ Motion for Preliminary

 2   Settlement Approval. See ECF No. 450. On July 26, 2024, Plaintiffs filed the Third Consolidated

 3   Amended Class Action Complaint (ECF No. 448-1), which is the operative complaint in this action.

 4   See ECF No. 543.

 5            7.       Defending Class Members’ Interests Before Federal and State Legislators

 6            35.      In parallel with their efforts to prosecute this litigation, Class Counsel have also

 7   defended the clasess’ interests before federal and state legislative bodies. Throughout this litigation,

 8   Defendants engaged in an aggressive, years-long campaign to lobby for legislation that would exempt

 9   them from the antitrust laws and allow them to continue their unfair restrictions on college athletes,

10   collectively spending nearly $10 million dollars on lobbying between 2021 and 2024.2 Class Counsel

11   expended significant effort and resources, to protect the classes’ interests against Defendants’
12   attempts to kill this lawsuit, including by meeting with legislators, analyzing proposed legislation and
13   advising Congressional committees, and submitting written testimony before Congressional panels.
14   That included expending significant funds on lobbyists, for which Class Counsel does not seek direct
15   reimbursement.
16            8.       Extensive Arm’s Length Settlement Negotiations Resulted in a Ground-Breaking
                       Settlement for the Classes
17
              36.      Plaintiffs discussed in their briefing in support of their motion for preliminary
18
     approval, and the supporting declarations, the extensive and complicated negotiations that led to the
19
     ground-breaking settlement achieved. ECF Nos. 450, 450-2, 494, 494-1, 494-2. In sum, Plaintiffs and
20
     Defendants negotiated resolution of the claims during several in-person and telephonic mediation
21
     sessions conducted by renowned mediator Professor Eric D. Green, who has significant experience
22
     mediating disputes involving challenges to the NCAA’s compensation rules. Settlement negotiations
23
     stretched over a year and a half—from fall 2022 to spring 2024—and were carefully structured based
24

25   2
       Sports Business Journal, NIL and other financial questions have created a lot of talk in D.C., but no
     real action so far (October 28, 2024)
26   https://www.sportsbusinessjournal.com/Articles/2024/10/28/college-nil-
     lobbying#:~:text=Federal%20disclosures%20show%20the%20NCAA,an%20average%20of%20%2
27   4845%2C000%20annually.
28                                                   - 11 -
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 1   on different relief and claims. For example, throughout the negotiations, the discussions continued to

 2   be separated for injunctive relief and the different types of damages claims. The parties first focused

 3   on negotiations regarding settling the injunctive relief claims. Only after agreeing to the principal

 4   terms of the injunctive relief settlement did the parties turn to discussions of damages. Additionally,

 5   following the hearing on preliminary approval, based on issues identified for Judge Wilken, the

 6   parties negotiated further changes to the settlement agreement and injunctive relief portion

 7   specifically, and submitted the Amended Stipulation and Settlement Agreement on September 26,

 8   2024. See ECF Nos. 535, 537.

 9            37.      The relief obtained for the Settlement Classes has been detailed in other briefing by

10   Plaintiffs. See, e.g., ECF No. 450 at 16-24; ECF No. 534 at 14-15. Highlights include:

11           The $1.976 billion NIL Settlement Fund that is 67.4% of estimated single damages for the
12            Settlement Classes’ NIL-related claims. ECF No. 450 at 17 (citing Declaration of Daniel A.

13            Rascher at ¶¶ 22, 28, 32, filed July 26, 2024, ECF No. 450-4, hereinafter “Rascher Decl.”);

14           The $600 million Additional Compensation Fund that is 31.6% of the estimated single
15            damages to members of the Settlement Classes for the related claims, originally brought in

16            Carter. ECF No. 450 at 19 (citing Rascher Decl. ¶ 49);

17           Injunctive relief that makes permanent the NCAA’s interim third-party NIL rules—enacted
18            after this litigation and Class Counsel Supreme Court victory in Alston—that have allowed

19            athletes to receive hundreds of millions of dollars from third parties for use of their NILs. See

20            ECF No. 450 at 21.

21           Injunctive relief that revolutionizes NCAA rules to permit schools for the first time to provide
22            billions of dollars in new benefits directly to college athletes (so-called “Pool benefits”)—in

23            addition to the existing scholarships and other benefits athletes are already eligible to receive,

24            and in addition to the opportunity for third-party NIL deals. Plaintiffs’ economic expert, Dr.

25            Rascher, estimates that, in 2025-2026, the combined value of existing benefits to Division I

26            athletes and the new 22% Pool benefits is 51% of Division I revenues—meaning college

27            athletes will earn the same percentage of revenues as professional athletes in the NFL, NBA,

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 1            and other professional leagues. Rascher Decl., ¶¶ 39, 82-87. Over the ten-year period of the

 2            Injunctive Settlement Term, this is likely to have a value of more than $20 billion dollars that

 3            may be spent directly on college athletes. See id.

 4
              38.      Other valuable aspects of the Injunctive Relief Settlement include eliminating NCAA
 5
     rules on scholarship limits, rules addressing the number of seasons/length of time college athletes are
 6
     eligible to receive benefits, the progress required toward a degree for a college athlete to be eligible
 7
     to receive benefits under the Injunctive Relief Settlement, and rules preventing circumvention of the
 8
     agreement. Importantly, the Injunctive Relief Settlement takes a neutral position on, and thus will not
 9
     interfere with, any collective bargaining efforts between college athletes and Defendants or NCAA
10
     member schools in the event that a change in law or circumstances allows collective bargaining. If
11
     that occurs, the benefits permitted under the Injunctive Relief Settlement may be made part of any
12
     collectively-bargained compensation package or alternative structure. Thus, the Settlement will not
13
     preclude the parties to any such bargaining from agreeing upon additional, expanded, or different
14
     benefits than those permitted by the Injunctive Relief Settlement. See Amended Injunctive Relief
15
     Settlement, Appendix A to Amended Stipulation and Settlement Agreement, hereinafter “Am. IRS”
16
     at 27-28 (ECF No. 35 Ex. 1).3
17
              9.       Further Proceedings and Current State of Play
18
              39.      On July 26, 2024, Plaintiffs moved for preliminary approval of the settlement with
19
     Defendants and to direct notice to the Settlement Classes. ECF No. 450. After objections, substantive
20
     briefing in response, and the preliminary approval hearing, Class Counsel submitted subsequent
21
     briefing with modified settlement agreement, declarations, and notice documents. ECF Nos. 534,
22
     535, 536, 537. Plaintiffs’ motion was granted on October 7, 2024. ECF No. 544. Notice to the class
23

24
     3
       The Injunctive Settlement also establishes processes, including audit rights, for Class Counsel to
25   ensure that the rules implementing the Injunctive Settlement will be followed. Am. IRS at 16-18. And
     it establishes a new neutral arbitration system for resolving NCAA eligibility disputes between
26   individual athletes or Member Institutions and the NCAA or conferences arising from the Injunctive
     Settlement. Am. IRS at 23-26.
27

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 1   commenced on October 18, 2024. Since that date, Class Counsel in coordination with experts and the

 2   settlement administrator, have spent hours notifying hundreds of thousands of eligible athletes,

 3   coordinating and verifying data produced by over 200 NCAA member schools, and preparing

 4   allocations estimates for eligible class members prior to the opt-out and objection deadline of January

 5   31, 2025.

 6             II.          SUMMARY OF HAGENS BERMAN’S LODESTAR AND EXPENSES
 7            40.      Hagens Berman’s total lodestar for professional and attorney time billed to the College
 8   Athlete NIL Litigation, up to and including December 9, 2024, is $18,164,987.50. Professionals at
 9   Hagens Berman devoted 33,952.70 hours in total to this action. Hagens Berman’s lodestar for
10   attorney and professional time billed is calculated based on the current hourly rates of the firm.
11            41.      Hagens Berman’s hourly rates are based on regular and ongoing monitoring of
12   prevailing market rates in the San Francisco Bay Area for attorneys of comparable skill, experience,
13   and qualifications. Hagens Berman’s hourly rates and rate structure have been approved by
14   numerous courts, including recently in the Northern District of California. See In re Google Play
15   Developer Antitrust Litig., 2024 WL 150585, at *3 (N.D. Cal. Jan. 11, 2024); see also, e.g., In re
16   Nat’l Collegiate Athletic Ass’n Athletic Grant-in-Aid Cap Antitrust Litig., 2017 WL 6040065, at *8-
17   *9 (N.D. Cal. Dec. 6, 2017), aff’d, 768 F. App’x 651 (9th Cir. 2019).
18            42.      A summary of the timekeepers who worked on these matters, the number of hours
19   dedicated to tasks in this litigation, their total hours, their current hourly billing rates, and their total
20   lodestar based on current billing rates, is attached as Exhibit 1.
21            43.      Attached as Exhibit 2 is a summary of Hagens Bermans’ lodestar by task category.
22   The task categories are as follows:
23                  a. Investigation and Fact Discovery, which includes investigation of the case,
24                     researching publicly available sources, relevant prior litigation against Defendants,
25                     investigating potential fact witnesses, and drafting the initial complaint.
26                  b. Analysis/Strategy, which includes internal communications with co-counsel and non-
27                     motion written submissions to the Court, including stipulations and case management
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 1                     plans.

 2                  c. Written Discovery, which includes drafting, responding to, and collecting documents

 3                     regarding written discovery to and from parties and to third parties.

 4                  d. Document Review, which includes analyzing and reviewing documents produced by

 5                     parties and third parties, and managing document review efforts.

 6                  e. Motions, which includes researching, writing, filing, and responding to motions, oral

 7                     argument concerning motions, and drafting the amended complaints.

 8                  f. Experts/Consultants, which includes facilitating expert reports and data analysis,

 9                     corresponding and conferencing with experts, and supporting expert conclusions.

10                  g. Depositions, which includes analysis and research for, preparing for, and taking and

11                     defending depositions.

12                  h. Client and Class Communications, which includes corresponding and conferencing

13                     with class representatives, and with potential and actual class members.

14                  i. Settlement, which includes settlement negotiations, mediation, and work conducted

15                     to facilitate the settlement, such as notice and administration tasks.

16                  j. File Maintenance, which includes non-attorney work organizing, updating, and

17                     maintaining the litigation file.

18            44.      A summary of the costs and expenses that Hagens Berman has paid to date in the

19   College Athlete NIL Litigation is attached as Exhibit 3. To avoid double counting, this summary

20   does not include expenses allocated to funding the Litigation Fund, which was completely funded by
21   Class Counsel, as discussed in Section IV.B, infra, Apart from contribution to the Litigation Fund,
22   the separate expenses incurred total $177,940.25. See Exhibit 5 (internal expenses of each Class
23   Counsel firm identified). These costs and expenses are based on the books and records of my firm.
24   The expenses reflected in Exhibit 3 are prepared from expense vouchers, receipts, and bank records,
25   and thus represent an accurate recordation of the expenses incurred. Hagens Berman can produce a
26   copy of these expense vouchers, receipts, and bank records upon request of the Court.
27            45.      I have reviewed the time and expenses reported by Hagens Berman in this case which
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 1   are included in this declaration and its exhibits, and I affirm that they are true and accurate.

 2            46.      In addition to the separate expenses of Hagens Berman for which we seek

 3   reimbursement, Hagens Berman also contributed $4,030,000.00 to a Litigation Fund maintained in

 4   the College Athlete NIL Litigation. The expenses paid from this Litigation Fund for which Class

 5   Counsel seek reimbursement are described infra, in Section IV.B.

 6                     III.   SUMMARY OF CLASS COUNSEL’S ATTORNEYS’ FEES
 7            47.      In Plaintiffs’ Motion for Attorneys’ Fees, Reimbursement of Litigation Expenses, and

 8   Service Awards for Class Representatives, Class Counsel respectfully request an award of attorneys’

 9   fees, to be paid out over ten years with class member distributions, equivalent to 20% of the NIL

10   Settlement Fund ($395.2 million), 10% of the Additional Compensation Fund ($60 million), an

11   upfront injunctive relief award of $20 million to be paid by Defendants, and the right to apply to the

12   Court or special master for an award of a percentage of the total amount spent by Division I member

13   institutions under the Pool for each academic year (with the percentage increasing from .75 to a

14   maximum of 1.25%).

15            48.      As explained supra, in Exhibits 1 and 2, respectively, Hagens Berman has provided its

16   total lodestar at current hourly rates. Similarly, in Mr. Kessler’s declaration, he has provided Winston

17   & Strawn’s lodestar at current hourly rates, which totals $35,973,842.50. In Mr. Kodroff’s

18   declaration, he has provided Spector, Roseman & Kodroff, P.C.’s total lodestar at current rates,

19   which totals $223,498.75.

20            49.      As shown in the exhibits to this Declaration and the declarations of Mr. Kessler and

21   Mr. Kodroff, Class Counsel’s total lodestar in this action at current rates is $54,362,328.75. See

22   Exhibit 6. If one takes the fees currently requested of $475.2 million and divides by the total lodestar

23   by Class Counsel in this action of $54,362,328.75, the result would be a lodestar multiplier for this
24   action of approximately 8.74.
25            50.      Class Counsel has foregone other work while litigating this case, and some attorneys
26   worked nearly exclusively on this case for at least some of the many years of this decade-long
27   litigation.
28                                                      - 16 -
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 1            51.      A summary of the total hours and lodestar for each Class Counsel firm at current

 2   billing rates is summarized in Exhibit 6 to this declaration.

 3            52.      For an antitrust case of this size and complexity, Class Counsel has worked hard to

 4   keep the team relatively small, relying on attorneys from only two firms for the vast majority of the

 5   work completed to avoid unnecessary inefficiency. Our team knows the case well and understands

 6   the complexity and nuances of the litigation.

 7            53.      To avoid duplication, Class Counsel has worked together to split assignments

 8   wherever possible, including at the document review stage. Our document reviewers have years of

 9   experience reviewing and assessing large volumes of documents in similar antitrust class action

10   cases.

11            54.      The attorneys working for Class Counsel applied their extensive experience litigating

12   other antitrust class actions to this case, resulting in additional efficiencies.

13                             IV.     EXPENSES INCURRED BY PLAINTIFFS

14                  A. Summary of Expenses

15            55.      In this Motion, Plaintiffs respectfully request reimbursement of litigation costs and

16   expenses they incurred on behalf of Plaintiffs in the amount of $9,081,356.70. (see total of Exhibits 4

17   and 5). Class Counsel’s unreimbursed expenses were reasonably incurred, necessary for the litigation
18   of the case, and Class Counsel advanced these expenses interest free with no assurance that they
19   would ever be reimbursed. Class Counsel has continued to incur these expenses while funding
20   necessary expert costs in the ongoing work of settlement administration and allocation.
21            56.      Throughout the litigation, Class Counsel has prosecuted this case on a contingent
22   basis, funding the case out-of-pocket, without the use of outside litigation funders.
23            57.      The total amount of expenses requested is based on the amounts identified in this
24   declaration (for Hagens Berman), the Kessler Decl. (for Winston & Strawn) and the Kodroff Decl.
25   (for Spector Roseman), and the expenses paid out of the Litigation Fund, which are described in
26   detail in this declaration in Section IV.B, infra.
27

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 1            58.      Class Counsel submit that the litigation expenses incurred were reasonable and

 2   necessary to obtain the results achieved for the Settlement Classes in light of the complexities of the

 3   litigation, the amount of discovery that was required of the six Defendants and numerous third

 4   parties, and the challenging liability and expert issues raised in the case. Furthermore, these expenses

 5   are typical expenses that counsel would generally bill to paying clients in the marketplace.

 6                  B. Expense Paid out of the Litigation Fund

 7            59.      For the bulk of expenses in this litigation, Class Counsel created a Litigation Fund,

 8   100% funded by counsel. As with all expenses for which Class Counsel seek reimbursement, no

 9   outside litigation funders have contributed to, or have an interest in, this Litigation Fund. Hagens

10   Berman has been tasked with the responsibility for administering the Litigation Fund in connection

11   with the prosecution of this case. The expenses incurred by the Litigation Fund are reflected in the

12   books and records of Hagens Berman. These books and records are prepared from invoices, checks,

13   and other source materials which are regularly kept and maintained by Hagens Berman and

14   accurately reflect the expenses incurred.

15            60.      The litigation costs and expenses paid from the Litigation Fund total $8,220,446.40.

16   Exhibit 4. That total represents approximately 90.5% percent of the total expenses of $9,081,356.70

17   incurred in connection with this case.
18            61.      Attached hereto as Exhibit 4 is a summary of the expenses paid from the Litigation
19   Fund. The expenses from the Litigation Fund include the following:
20                     a.     Experts and Analysis: Class Counsel retained well-respected economic and
21   other experts to provide critical support for the damages methodology at class certification and at the
22   merits stage of this litigation, to refute anticompetitive arguments at summary judgment, to calculate
23   settlement allocations, to perform survey analysis, and to do other expert work critical to this case. In
24   total, Plaintiffs incurred $7,706,740.22 in this category of expenses paid from the Litigation Fund,
25   which is equivalent to approximately 84.9 percent of the total expenditures in this case.
26                     b.     Deposition Transcripts and Videographers: Payments to deposition
27   transcription and videography services. In total, Plaintiffs incurred $213,962.88 in this category of
28                                                      - 18 -
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 1   expenses paid from the Litigation Fund.

 2                     c.     Document Collection, Review, and Synthesis: Payments made to document

 3   review platform hosting vendors, including Everlaw. In total, Plaintiffs incurred $185,430.60 in costs

 4   for these services paid from the Litigation Fund.

 5                     d.     Neutral Services: Payments made to Resolutions LLC, which is Professor Eric

 6   Green’s mediation services firm. In total, Plaintiffs incurred a total of $114,312,70 in costs for these

 7   services paid from the Litigation Fund.

 8                  C. Expenses Paid Directly by Class Counsel.

 9             62.     Of the total expenses incurred, $860,910.42 of those expenses were paid directly by

10   individual Class Counsel firms to vendors, as shown in Exhibit 5, which breaks down the expenses

11   sought by Class Counsel according to the individual firm that paid the expense.
12             63.     Each of the expenses is based on the expenses identified by Class Counsel in this
13   declaration (for Hagens Berman), the Kessler Decl. (for Winston & Strawn) and the Kodroff Decl.
14   (for Spector Roseman).
15
     V.        SUMMARY OF LODESTAR AND FEE AWARDS IN ALSTON AND TOTAL FROM
16                COLLEGE ATHLETE NIL LITIGATION, HUBBARD AND ALSTON
              64.  In In re National Collegiate Athletic Ass’n Athletic Grant-in-Aid Cap Antitrust Litig.
17
     (“Alston”), No. 14-md-02541-CW (NC) (N.D. Cal.), class counsel in that litigation, which included
18
     Hagens Berman and Winston & Strawn, were awarded fees as the prevailing party on plaintiffs’
19
     injunctive relief claims. See id., ECF No. 1261, adopted by ECF No. 1280; ECF No. 1301; ECF No.
20
     1334. The total fees awarded for Hagens Berman and Winston & Strawn, Class Counsel here, were
21
     $33,185,776. See id.
22
              65.      This Court found Hagens Berman and Winston & Strawn’s (Class Counsel here)
23
     compensable lodestar for purposes of awarding fees for plaintiffs as the prevailing parties on their
24
     injunctive relief claims in the amount of approximately $33,185,776. See id., ECF No. 1259 at 8-9,
25
     adopted by ECF No. 1280 (class counsel to be awarded fees for compensable work at hourly rates);
26
     ECF No. 1261, adopted by ECF No. 1280; ECF No. 1301; ECF No. 1334.
27

28                                                      - 19 -
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 1            66.      Class Counsel’s recovery for their work on behalf of the prevailing on the injunctive

 2   relief claims in Alston was limited to statutory fee-shifting (excluding, for examples, millions in non-

 3   reimbursable expenses and any multiplier on fees), and much of the discovery obtained in Alston was

 4   used in the NIL Antitrust Litigation and Hubbard et al. v. NCAA et al., No. 4:23-cv-10593-CW (N.D.

 5   Cal.).

 6            67.      In the related Hubbard litigation, Hagens Berman and Winston & Strawn serve as Co-

 7   Lead Counsel. Jeffrey L. Kessler has submitted a Declaration of Support of the Plaintiffs' Motion for

 8   Attorneys’ Fees, Reimbursement of Litigation Expenses, and Service Awards for Class

 9   Representatives in that litigation (“Kessler Hubbard Decl.). In his declaration, Mr. Kessler has

10   calculated Class Counsel’s total lodestar as $4,793,070. See Kessler Hubbard Decl., submitted

11   concurrently with this declaration in Hubbard.

12            68.      As stated in this declaration, the total lodestar for Class Counsel in this action (College

13   Athlete NIL Litigation) is $54,362,328.75.

14            69.      In sum, the lodestar from College Athlete NIL Litigation, Hubbard, and for their

15   injunctive relief work that was deemed compensable in Alston totals approximately $92,341,174.75.

16            70.      The fees requested now in the motion for attorneys’ fees in College Athlete NIL

17   Litigation total $475.2 million. See supra, Part III. The fees requested in the motion for attorneys’

18   fees in Hubard total $40 million. And as explained, the fees awarded to Class Counsel here (Hagens

19   Berman and Winston & Strawn) as part of the fee award for the prevailing party on the injunctive

20   relief claims in Alston totaled $33,185,776. If these figures are totaled—the fee requests in College

21   Athlete NIL Litigation and Hubbard, plus the amount awarded to Class Counsel here in Alston for the

22   injunctive relief claims—the total amount is $548,385,776. Thus, the total multiplier including hours

23   expended and fees requested and awarded, respectively, by Class Counsel on the claims in Hubbard

24   and the injunctive relief claims in Alston, and the fees requested in the College Athlete NIL Litigation
25   is 5.94, or $548,385,776 divided by $92,341,174.75.
26

27

28                                                       - 20 -
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 1        VI.      THE CRITICAL WORK OF CLASS REPRESENTATIVES GRANT HOUSE,
                                SEDONA PRINCE, AND TYMIR OLIVER
 2              71. Class representatives Grant House, Sedona Prince, and Tymir Oliver have devoted
 3   noteworthy time and resources to representing the plaintiffs in this case from inception to settlement
 4   and have remained actively involved during the course of the litigation.
 5              72.    Mr. House, Ms. Prince, and Mr. Oliver worked closely with counsel to respond to
 6   multiple sets of requests for production and interrogatories from Defendants over the past four years.
 7   They all took seriously their obligations to preserve responsive documents and further worked with
 8   counsel to collect and produce each and every responsive document and all information in their
 9   possession, often from multiple locations and sources. They each searched their files for any
10   correspondence, forms, contracts, financial and athletics records, and any other potentially relevant
11   documents that spanned their collegiate athletic careers.
12              73.    Mr. House, Ms. Prince, and Mr. Oliver were responsive and available to counsel
13   through the entire duration of this lawsuit, providing additional information as needed and remaining
14   engaged and actively informed on the case.
15              74.    Mr. House, Ms. Prince, and Mr. Oliver each prepared for, traveled to and from, and
16   participated in full day-long depositions.
17              75.    Mr. House’s deposition lasted approximately six hours and he dedicated hours of time
18   and energy preparing for his deposition, with assistance of counsel.
19              76.    Ms. Prince’s deposition lasted approximately six hours and she dedicated hours of
20   time and energy preparing for his deposition, with the assistance of counsel.
21              77.    Mr. Oliver prepared for, traveled to and from, and participated in a full day-long
22   deposition. Mr. Oliver’s deposition lasted approximately seven hours. Mr. Oliver dedicated hours of
23   time and energy preparing for his deposition, with assistance of counsel.
24              78.    Mr. House and Ms. Prince were also still competing in college under the NCAA rules
25   when their case began and incurred substantial risks and costs in taking on leadership roles in this
26   high-profile, highly-publicized litigation against the NCAA and the most prominent conferences in
27

28                                                      - 21 -
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 1   college sports. Mr. Oliver was a recent graduate of college, who participated under NCAA rules at

 2   the time the litigation began.

 3             79.     Mr. Oliver searched his files for any correspondence, forms, contracts, brochures,

 4   financial and athletics records, and any other potentially relevant documents that spanned his athletic

 5   career from high school to after graduating college and expiration of his NCAA eligibility.

 6            80.      In recognition of their significant contributions to this litigation, Plaintiffs request

 7   service awards for Mr. House, Ms. Prince, and Mr. Oliver in the amount of $125,000 each ($375,000

 8   in total).

 9   VII.     EXPERTISE AND EXPERIENCE OF CORE HAGENS BERMAN TEAM MEMBERS
10            81. The expertise and experience of Class Counsel is another important factor in setting a

11   fair fee. As demonstrated by the Hagens Berman firm résumé, attached hereto as Exhibit 7, Hagens

12   Berman is among the most experienced and skilled practitioners in the complex litigation field, and
13   has a long and successful track record in such cases. Hagens Berman is a nationally recognized law
14   firm, with offices in Berkeley, Seattle, Boston, Chicago, Los Angeles, Washington D.C., Phoenix,
15   London, and Paris. The firm has been consistently rated by the National Law Journal in the top ten of
16   plaintiffs’ firms in the country. Hagens Berman has extensive experience litigating complex class
17   actions asserting claims of securities, investment fraud, product liability, tort, antitrust, consumer
18   fraud, employment, environmental, and ERISA cases. The fact that Hagens Berman has demonstrated
19   a willingness and ability to prosecute complex cases such as this was undoubtedly a factor that
20   encouraged the Defendants to engage in settlement discussions, and added valuable leverage in the
21   negotiations, ultimately resulting in the recovery for the Class. The Hagens Berman team paid
22   attention to ensuring that each attorney on the file had specific areas of focus; that there was not
23   duplication of efforts, especially among higher billers; and that projects were assigned to experienced
24   lawyers with depth in the field who could effectively and efficiently execute the amount of work this
25   case demanded.
26            82.      In addition to biographies included in the attached firm résumé, below is a summary
27   of the experience of some of the core team members:
28                                                        - 22 -
          BERMAN DECL. ISO PLS.’ MOT. FOR ATTYS’ FEES, REIMBURSEMENT OF LITIG. EXPENSES, AND SERVICE
                                            AWARDS FOR CLASS REPS
                                             Case No. 4:20-cv-03919-CW
     010912-11/2861995 V1
     Case 4:20-cv-03919-CW            Document 583-2       Filed 12/17/24     Page 24 of 89




 1            83.      Steve Berman, one of the founding partners of Hagens Berman, is widely regarded as

 2   one of the most effective class action attorneys in the country. In In re NCAA Grant-in-Aid Cap

 3   Antitrust Litigation, Mr. Berman led Hagens Berman’s trial team in a 10-day trial in September 2019

 4   before former Chief Judge Claudia Wilken of the Northern District of California, successfully

 5   obtaining an injunction against the NCAA relating to caps on compensation available to college

 6   student-athletes. Mr. Berman questioned numerous witnesses and gave the closing argument at trial.

 7   The decision and injunction was upheld, unanimously, by the Supreme Court. See NCAA v. Alston,

 8   141 U.S. 1241 (2021). Prior to trial, Mr. Berman recovered a $208 million settlement for the class,

 9   but continued to litigate on behalf of the class for the injunction affirmed by the Supreme Court. He

10   served as lead counsel for 13 states in the tobacco litigation, leading to a settlement of $206 billion—

11   the largest in history. He, along with Marc Seltzer, was appointed sua sponte by Judge James V.

12   Selna of the Central District of California to serve as co-lead counsel in In re Toyota Motor Corp.

13   Unintended Acceleration. The $1.6 billion settlement was then the largest auto settlement, both in

14   terms of class members and recovery, in U.S. history. Mr. Berman was sole lead class counsel in In

15   re: Stericycle, Inc., Steri-Safe Contract Litigation, Case No. 13 C 5795, MDL No. 2455 (N.D. Ill.),

16   where the class obtained $295 million in settlements and injunctive relief. Judge Shadur stated in his

17   preliminary approval order that the settlement demonstrated the “type of high quality work product

18   that this Court anticipated when it designated Hagens Berman and its lead partner Steve Berman as

19   class counsel.” Memo. & Order at 3, In re: Stericycle, Inc., MDL No. 2455 (N.D. Ill. Oct. 26, 2017),

20   ECF No. 310. He has served as lead or co-lead counsel in antitrust, securities, consumer, and

21   products liability litigation, as well as other complex litigation, including MDL actions, throughout

22   the country. In addition, Mr. Berman was appointed to the plaintiffs’ steering committee by Judge

23   Breyer in the In re Volkswagen “Clean Diesel” Mktg., Sales Practices, & Prods. Liability Litig., No.

24   15-md-02672-CRB (N.D. Cal.), and lead counsel for the franchise VW dealers, who settled for $1.2

25   billion. Mr. Berman has received countless awards and recognition for his work, including the

26   National Law Journal’s 2021 recognition of him as a Sports & Entertainment Law Trailblazer, the

27   American Antitrust Institute recognizing him in 2021, 2019, and 2018 as an Honoree for Outstanding

28                                                    - 23 -
          BERMAN DECL. ISO PLS.’ MOT. FOR ATTYS’ FEES, REIMBURSEMENT OF LITIG. EXPENSES, AND SERVICE
                                            AWARDS FOR CLASS REPS
                                             Case No. 4:20-cv-03919-CW
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     Case 4:20-cv-03919-CW            Document 583-2       Filed 12/17/24      Page 25 of 89




 1   Antitrust Litigation Achievement, and being named as a Class Action MVP of the Year for 2016

 2   through 2020 by Law360. Mr. Berman was also recently named to the Lawdragon Hall of Fame for

 3   his career achievements.

 4            84.      Christopher O’Hara is a partner with Hagens Berman with a long history in working

 5   on antitrust class actions and settlements. Mr. O’Hara plays a key role in working with and

 6   overseeing notice and claims administrators on the firm’s class settlements and class notice programs,

 7   including antitrust actions such as In re Electronic Books Antitrust Litig., No. 11-mc-02293

 8   (S.D.N.Y.); In re Optical Disk Drive Antitrust Litig., No. 10-md-2143 RS (N.D. Cal.); and In re

 9   Animation Workers Antitrust Litig., No. 14-CV-04062-LHK (N.D. Cal.). An active member of the

10   firm’s Microsoft defense team, Mr. O’Hara has spent the past 17 years working for and advising

11   Microsoft in 20 state antitrust class action lawsuits and settlements around the country. Mr. O’Hara

12   began his career with the firm as a Special Assistant Attorney General for 13 states, working on

13   consumer protection and antitrust claims in the landmark State Tobacco Litigation, which resulted in

14   the $206 billion Tobacco Master Settlement Agreement, the largest settlement in world history.

15   Named a Rising Star in 2003, Mr. O’Hara graduated from Seattle University School of Law, cum

16   laude, in 1993.

17            85.      Benjamin Siegel is Of Counsel in Hagens Berman’s Berkeley office with significant

18   experience in antitrust class actions. He is a 2007 graduate of The University of Texas School of

19   Law, where he was an Articles Editor of the Texas Law Review, and the University of Texas Lyndon

20   B. Johnson School of Public Affairs, graduating first in his class. After law school, Mr. Siegel was a

21   judicial law clerk to the Honorable Thomas M. Reavley of the United States Court of Appeals for the

22   Fifth Circuit. He was admitted to the State Bar of California in 2008 and has been admitted to

23   practice before the courts of the State of California, the Northern District of California, the Eastern

24   District of California, and the Ninth Circuit Court of Appeals. Since joining the firm, Mr. Siegel has

25   had a practice focused on antitrust class actions and is a member of the Hagens Berman teams in In

26   re Resistors Antitrust Litigation, No. 15-cv-03820 (N.D. Cal.); In re Optical Disk Drive Antitrust

27   Litigation, No. 10-md-02143 (N.D. Cal.); Mackmin v. Visa Inc., No. 11-cv-1831 (D.D.C.); In re

28                                                     - 24 -
          BERMAN DECL. ISO PLS.’ MOT. FOR ATTYS’ FEES, REIMBURSEMENT OF LITIG. EXPENSES, AND SERVICE
                                            AWARDS FOR CLASS REPS
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 1   College Athlete NIL Litigation, No. 20-cv-03919 (N.D. Cal.); and In re NCAA Grant-In-Aid Cap

 2   Antitrust Litigation, No. 14-md-02541 (N.D. Cal.). In the latter case, Mr. Siegel was part of the team

 3   that successfully defended its trial win before the Supreme Court and received the American Law

 4   Institute’s award for Outstanding Antitrust Litigation Achievement in Private Law Practice. In 2018,

 5   he was named one of Super Lawyers’ “Rising Stars.” In 2024, he was named one of Northern

 6   California’s Super Lawyers

 7            86.      Emilee Sisco is an associate in Hagens Berman’s Seattle office with substantial

 8   experience in sports litigation and antitrust class actions. Ms. Sisco graduated from Seattle University

 9   School of Law in 2015. During law school, Ms. Sisco was a law clerk for the Washington State

10   Office of the Attorney General Antitrust Division. She has worked on numerous cases on behalf of

11   professional and college athletes since joining Hagens Berman in 2015, including as a member of the

12   team in In re NCAA Grant-In-Aid Cap Antitrust Litigation, No. 14-md-02541 (N.D. Cal.) that

13   successfully defended its trial win before the Supreme Court and received the American Law

14   Institute’s award for Outstanding Antitrust Litigation Achievement in Private Law Practice in 2019

15   and 2021. She has served as a significant part of the team in this action.

16            87.      Stephanie Verdoia is an associate in Hagens Berman’s Seattle office and works on

17   antitrust class actions. Mrs. Verdoia has worked on numerous large antitrust class actions since she

18   joined Hagens Berman in 2021. She focuses predominantly on price-fixing antitrust class actions

19   including: Duffy v. Yardi Systems Inc., et al., 2:23-cv-01391-RSL (W.D. Wash.), Gibson v. Cendyn

20   Group, LLC, et al., 2:23-cv-00140-MMD-DJA (D. Nev.), and State of Arizona, et al., v, RealPage

21   Inc., et al., cv-2024-003889 (Sup. Ct. Az.). As well as, large MDL consumer class actions such as: In

22   re: Evenflo Company, Inc., Marketing, Sales Practices and Products Liability Litigation, 1:20-md-

23   02938-DJC (D. Mass.). She has served as a major part of the team in this action, including playing a

24   major role in third-party discovery, class certification, summary judgment, and settlement

25   administration.

26            88.      Meredith Simons is an associate in Hagens Berman’s Seattle office and works on

27   antitrust class actions. She has practiced for seven years and has been admitted to the California bar,

28                                                      - 25 -
          BERMAN DECL. ISO PLS.’ MOT. FOR ATTYS’ FEES, REIMBURSEMENT OF LITIG. EXPENSES, AND SERVICE
                                            AWARDS FOR CLASS REPS
                                             Case No. 4:20-cv-03919-CW
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     Case 4:20-cv-03919-CW             Document 583-2        Filed 12/17/24      Page 27 of 89




 1   as well as U.S. Court of Appeals for the Ninth Circuit and the U.S. District Court for the Central

 2   District of California. Mrs. Simons attended Duke Law school where she graduated summa cum

 3   laude before clerking for Honorable Richard C. Tallman of the Ninth Circuit Court of Appeals. Since

 4   joining Hagens Berman Mrs. Simons has worked on some of the firm’s largest current antitrust

 5   actions, including: Taylor v. Amazon.com, Inc., 2:24-cv-00169 (W.D. Wash.), Floyd v. Amazon.com,

 6   Inc., 2:22-cv-01599 (W.D. Wash.), Collins v. Apple Inc., 3:24-cv-01796 (N.D. Cal.). She has played

 7   a large role in this action related to fact discovery and class certification notice.

 8            89.       Jason Stowe is a staff attorney in Hagens Berman’s Seattle office and has worked on

 9   class actions for eight years, working on some of the firm’s most impactful cases. He provided

10   pivotal support for plaintiffs’ classes harmed by automotive companies cheating emissions tests,

11   hiding fraudulent operating functions, and forcing customers into needless and costly upgrades. The

12   firm counted on Jason against information technology companies that committed fraud and antitrust

13   violations in the airline ticket sales, social media data, and cell phone warranty markets. In this

14   action, Jason was a key member of the multi-year discovery and document review effort. He tracked

15   and organized the parties’ labyrinthine of broadcast and media contracts. Attorneys taking

16   depositions counted on Jason for preparation and strategy. And he provided factual and legal research

17   on an ongoing basis to help the legal team navigate the many novel and groundbreaking aspects of

18   this litigation.

19            90.       Brian Miller has been a paralegal in Hagens Berman’s Berkeley office since 2009,

20   managing complex antitrust class actions in this district including Pecover v. Electronic Arts, Inc.,

21   No. 08-cv-02820 CW (N.D. Cal.); In re Optical Disk Drive Antitrust Litig., No. 3:10-md-2143 RS

22   (N.D. Cal.); In re Nat’l Collegiate Athletic Ass’n Athletic Grant-in-Aid Cap Antitrust Litig., No. 14-

23   md-2541-CW (N.D. Cal.); In re Animation Workers Antitrust Litig., No. 14-cv-4062-LHK (N.D.

24   Cal.); Edwards v. National Milk Producers Federation, No. 11-cv-4766-JSW (N.D. Cal.); In re

25   Resistors Antitrust Litig., No. 15-cv-3820-JD (N.D. Cal.); In re Lithium-Ion Batteries Antitrust Litig.,

26   No. 13-md-02420 (N.D. Cal.); In re Google Play Developer Antitrust Litig., No. 3:20-cv-05792-JD

27   (N.D. Cal.); and Klein v. Meta Platforms, Inc., No. 3:20-cv-08570-JD (N.D. Cal.). Prior to joining

28                                                      - 26 -
          BERMAN DECL. ISO PLS.’ MOT. FOR ATTYS’ FEES, REIMBURSEMENT OF LITIG. EXPENSES, AND SERVICE
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 1   Hagens Berman, he was a case manager at an intellectual property litigation firm for twelve years,

 2   specializing in complex patent litigation and amassed extensive trial experience in districts across the

 3   country and the International Trade Commission.

 4

 5            I declare under penalty of perjury under the laws of the United States that the foregoing is

 6   true and correct.

 7            Executed this 17th day of December, 2024 at Seattle, Washington.

 8

 9                                                                    /s/ Steve W. Berman
                                                                     STEVE W. BERMAN
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28                                                     - 27 -
          BERMAN DECL. ISO PLS.’ MOT. FOR ATTYS’ FEES, REIMBURSEMENT OF LITIG. EXPENSES, AND SERVICE
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                   EXHIBIT 1
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                                           EXHIBIT 1


                         Hagens Berman Sobol Shapiro LLP
                       HOUSE/CARTER LODESTAR TOTALS
                     INCEPTION THROUGH DECEMBER 9, 2024
  ATTORNEY                TITLE             TOTAL      HOURLY        LODESTAR AT
                                            HOURS       RATE        CURRENT RATES
  Steve Berman           Partner            1,116.50   $1,350.00        $ 1,507,275.00
  Craig Spiegel          Partner             140.50     $975.00          $ 136,987.50
 Leonard Aragon          Partner              4.00      $850.00           $ 3,400.00
   Chris O'Hara          Partner             257.70     $800.00          $ 206,160.00
Catherine Gannon         Partner             294.70     $800.00          $ 235,760.00
     Ben Siegel         Of Counsel          5,415.40    $850.00         $ 4,603,090.00
Meredith Simons         Associate            320.40     $550.00          $ 176,220.00
   Emilee Sisco         Associate           8,151.30    $450.00         $ 3,668,085.00
Stephanie Verdoia       Associate           4,054.70    $400.00         $ 1,621,880.00
Lyes Mauni Jalali-      Associate            114.60     $350.00           $ 40,110.00
       Yazdi
     Jeff Lang        Staff Attorney         277.80     $575.00           $ 159,735.00
   Sophia Chao        Staff Attorney        1,783.70    $500.00           $ 891,850.00
    Zach Stump        Staff Attorney         274.70     $500.00           $ 137,350.00
   Jessica Liang      Staff Attorney        1,206.60    $425.00           $ 512,805.00
    Jason Stowe       Staff Attorney        5,420.90    $425.00          $ 2,303,882.50
 Yaa Pepra-Smith     Contract Attorney        22.50     $375.00             $ 8,437.50
 Dara Jon Taheri     Contract Attorney      1,421.90    $375.00           $ 533,212.50
  Georgia Beake      Contract Attorney       521.20     $375.00           $ 195,450.00
   Robert Webb       Contract Attorney       210.30     $375.00            $ 78,862.50
  Rashida Rose       Contract Attorney        66.00     $375.00            $ 24,750.00
  Sunny Chitalia     Contract Attorney       105.00     $375.00            $ 39,375.00
                      ATTORNEY              31180.40                    $ 17,084,677.50
                         TOTAL
    NON-                 TITLE              TOTAL      HOURLY        LODESTAR AT
 ATTORNEYS                                  HOURS       RATE        CURRENT RATES
   Brian Miller           Paralegal         2,243.00    $400.00          $ 897,200.00
 Joseph Salonga           Paralegal           15.40     $400.00            $ 6,160.00
 Megan Meyers             Paralegal           16.60     $400.00            $ 6,640.00
  Shelby Taylor           Paralegal          296.50     $350.00          $ 103,775.00
  Radha Kerzan            Paralegal          125.90     $350.00           $ 44,065.00
   Chan Lovell       Paralegal Assistant      74.90     $300.00           $ 22,470.00
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                  NON-         2,772.30                    $ 1,080,310.00
               ATTORNEY
                 TOTAL

             GRAND TOTAL      33,952.70                    $ 18,164,987.50
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                                EXHIBIT 2


                      Hagens Berman Sobol Shapiro LLP
               HOUSE/CARTER SUMMARY OF ATTORNEY HOURS
                      BY LITIGATION ACTIVITY TYPE
                  INCEPTION THROUGH DECEMBER 9, 2024

LITIGATION ACTIVITY        ATTORNEY HOURS                    LODESTAR

  Investigation and Fact         798.30                      $ 438,640.00
        Discovery
    Analysis/Strategy            1,386.30                    $ 867,080.00
   Written Discovery             4,228.10                    $ 2,247,527.50
   Document Review              10,220.40                    $ 4,690,680.00
        Motions                  4,966.50                    $ 3,023,692.50
   Experts/Consultants           3,542.10                    $ 1,946,565.00
       Depositions               3748.40                     $ 2,185,607.50
    Client and Class             113.30                       $ 58,212.50
    Communications
       Settlement                2,774.50                    $ 1,859,112.50
    File Maintenance             2,174.80                    $ 847,870.00

       TOTALS                   33,952.70                $ 18,164,987.50
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                   EXHIBIT 3
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                                  EXHIBIT 3


                   Hagens Berman Sobol Shapiro LLP
                  HOUSE/CARTER EXPENSE REPORT
               INCEPTION THROUGH DECEMBER 3, 2024

              CATEGORY OF EXPENSES                                   AMOUNT
                           Airfare                                   $ 13,611.42
           Court Reporters/Deposition Transcripts                      $ 455.80
                        Expert Fees                                  $ 57,868.75
                     Overnight Shipping                               $ 3,286.15
                         Filing Fees                                  $ 3,759.00
       Internal Prints/Copies/Scans at $0.25 per page                $ 28,246.00
                            Hotel                                     $ 9,081.53
                            Meals                                     $ 2,060.00
      Online Research (LexisNexis/Westlaw/PACER)                     $ 52,238.28
                 Messenger/Process Service                            $ 5,176.95
                          Postage                                       $ 29.23
                   Ground Transportation                              $ 1,546.20
                          Parking                                      $ 419.80
                    Miscellaneous Costs                                $ 161.14
                          TOTAL                                     $ 177,940.25
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                   EXHIBIT 4
  Case 4:20-cv-03919-CW        Document 583-2         Filed 12/17/24   Page 37 of 89




                                      EXHIBIT 4


        HOUSE/CARTER LITIGATION FUND EXPENDITURE SUMMARY

Experts & Analysis                                                        $ 7,706,740.22
OSKR                                                                      $ 4,763,143.75
Desser Media, Inc.                                                        $ 2,392,369.81
Competition Dynamics LLC (Prof. Darrell Williams)                           $ 264,275.00
Hal Poret LLC                                                               $ 134,600.00
Applied Marketing                                                            $ 79,953.75
Brian Fitzpatrick                                                            $ 16,666.66
Robert Klonoff                                                               $ 49,781.25
Adam Gregg (Research Assistant to Robert Klonoff)                              $ 1,687.50
Lane Kadish (Research Assistant to Robert Klonoff)                             $ 2,750.00
Rosa Wolf (Research Assistant to Robert Klonoff)                              $ 1,512.50

Neutral Services                                                            $ 114,312.70
Resolutions LLC                                                             $ 114,312.70


Document Collection, Review, & Synthesis                                    $ 185,430.60
Everlaw, Inc.                                                               $ 185,430.60


Deposition, Transcription & Videography                                     $ 213,962.88
Ana Dub                                                                          $ 88.80
Esquire Deposition Solutions, LLC                                           $ 144,569.84
TSG Reporting                                                                $ 22,098.34
Veritext                                                                     $ 47,205.90

                                                     TOTAL                $ 8,220,446.40
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                   EXHIBIT 5
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                             EXHIBIT 5


                         HOUSE/CARTER
                  INTERNAL EXPENSES – ALL FIRMS

                  Firm                               Expenses
      Hagens Berman Sobol Shapiro LLP              $ 177,940.25

           Winston & Strawn LLP                    $ 682,206.53
        Spector Roseman & Kodroff PC                 $ 763.64

                  TOTAL                            $ 860,910.42
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                   EXHIBIT 6
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                              EXHIBIT 6


                        HOUSE/CARTER
                 LODESTAR SUMMARY - ALL FIRMS

              Firm                        Hours        Lodestar (Current
                                                             Rates)
 Hagens Berman Sobol Shapiro LLP         33,952.70      $ 18,164,987.50

      Winston & Strawn LLP               36,506.10          $ 35,973,842.50
  Spector Roseman & Kodroff PC            238.25             $ 223,498.75

             TOTAL                       70,697.05          $ 54,362,328.75
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                   EXHIBIT 7
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Benjamin J. Siegel ........................................................................................ 28
Emilee Sisco ................................................................................................. 30
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                                                                                HAGENS BERMAN SOBOL SHAPIRO LLP



RELEVANT EXPERIENCE



Litigation Against NCAA
20 YEARS OF LEVELING THE PLAYING FIELD FOR COLLEGE ATHLETES


ACTIVE NCAA LITIGATION
 CASE                                                           STATUS               POSITION                RESULT
 In re: National Collegiate Athletic Association Athletic
                                                                                                          $208 Million
 Grant-In-Aid Cap Antitrust Litigation                          Settled           Co-Lead Counsel
 In re: National Collegiate Athletic Association Student-
                                                                                                           $75 Million
 Athlete Concussion Injury Litigation                           Settled            Lead Counsel
 Keller et al v. Electronic Arts and National Collegiate
                                                                                                           $60 Million
 Athletic Association                                           Settled           Co-Lead Counsel
                                                                Settled,
                                                                                                      $2.78 Billion Pending
 In re College Athlete NIL Litigation                         Preliminary
                                                                                                         Final Approval
                                                            Approval Granted      Co-Lead Counsel


College athletes have long been an integral part of one of the largest media conglomerates in U.S. history,
college sports. The most necessary and skilled component of the NCAA’s moneymaking venture, they
historically have also been the least compensated, mercilessly denied fair compensation for their talent, their
image use and rights, their injuries and their rights to college transfers. Our legal team is on their team.

No other law firm has stood against the NCAA as comprehensively as Hagens Berman, which has successfully
brought class-action litigation against the NCAA concerning concussions; name, image and likeness (NIL)
rights; and caps on grants-in-aid payments made to college athletes by schools and conferences.

NCAA Grants-in-Aid Scholarships Litigation (aka “Alston case,” in the press)
$208 Million Settlement, Permanent Injunction Upheld by the U.S. Supreme Court
Hagens Berman’s antitrust class action, claiming the NCAA had violated the law when it kept the class from
being able to receive compensation other than cash by schools or conferences for athletic services,
culminated in a $208 million settlement. The Supreme Court upheld the favorable opinion of the Ninth Circuit
in a 9-0 ruling. Justice Kavanaugh’s opinion further underscored the massive win for plaintiffs and the ruling’s
ongoing effects.

NCAA Name, Image and Likeness (NIL) Litigation
$2.78 Billion Settlement, Pending Final Approval
Using the Alston precedent, Hagens Berman’s NIL lawsuit accuses the NCAA and conferences of illegally
limiting the compensation that Division I college athletes may receive for the use of their names, images,
likenesses and athletic reputations. Thousands of college athletes have taken advantage of the NIL
opportunities opened by the Alston case to the tune of multimillion-dollar deals now available to them since
the NCAA loosened its restrictions on July 1, 2021. In 2023, three classes of college athletes were certified
regarding damages in the case, meaning, the NCAA faces monetary loss in the lawsuit, not just court action
restraining its antitrust behavior. Damages were based on payments college athletes would have received if
not for the NCAA’s restraints. These revenues include those from three areas: television broadcasts, video
games and other revenue sources and led to the historic $2.78 billion settlement reached in October 2024.




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NCAA Concussions
$75 Million Settlement, 50-year Medical Monitoring Fund
The firm’s lawsuit against the NCAA concerning concussions culminated in a proposed settlement that will
provide a 50-year medical-monitoring program for student-athletes to screen for and track head injuries;
make sweeping changes to the NCAA’s approach to concussion treatment and prevention; and establish a $5
million fund for concussion research, approved by the court.

NCAA Video Game Likeness
$60 Million in Combined Settlements
Hagens Berman brought this groundbreaking case that marked the first time in the history of the NCAA that
the organization is paying student-athletes for rights related to their play on the field, compensating them for
their contribution to the profit-making nature of college sports. The settlements were reached in 2014, and
more than 24,000 student-athletes were found eligible to receive payment under the settlements. Checks
were issued to approximately 15,000 players, some for up to $7,600, with a median amount of $1,100.


PRIOR FOUNDATIONAL CASES

2004 | NCAA Walk-On Players Andy Carroll v. NCAA
Hagens Berman began its representation of NCAA college athletes seeking to represent a proposed class of
thousands of walk-on players claiming the NCAA’s cost-cutting scholarship restrictions exploited them. The
lawsuit accused the NCAA of illegal restraint while “stadiums gain glitz and coaches get rich.” According to
the lawsuit, prior to 1977, schools were permitted to offer as many scholarships as they deemed appropriate,
but today the NCAA limits the number to 85.

2008 | NCAA Consumer Ticket Prices George et al. v. NCAA and Ticketmaster
In this proposed class action, Hagens Berman accused the NCAA and Ticketmaster of operating illegal
lotteries to sell and distribute tickets to certain NCAA Division 1 championship tournaments. The lawsuit
sought to represent consumers who attempted to buy tournament tickets by participating in lotteries set up
by the NCAA.

2009 | Video Game NIL Samuel Keller et al v. Electronic Arts Inc and National Collegiate Athletic
Association
Hagens Berman filed a class-action lawsuit against the NCAA and Electronic Arts, Inc. claiming the companies
illegally use college football and basketball players' names and likenesses in video games without permission
or consent from the player. The Keller case established college athletes’ right to recover the value of their NIL
if it was used without their consent, and Alston went on to show that not permitting those rights to be
managed by the student-athletes themselves was improper.

2009 | Video Game NIL O’Bannon v. NCAA
In a separate lawsuit, the firm represented former UCLA basketball player Ed O’Bannon in a case challenging
the NCAA’s use of college athlete publicity rights in television broadcasts. The O’Bannon case was denied
class certification, and a federal judge’s favorable ruling on the case’s claims was partially reversed by an
appeals court in 2015. It was denied review by the Supreme Court in 2016.

2010 | NCAA Financial Aid & Compensation Agnew v. NCAA
In Agnew v. NCAA, the firm filed a proposed national class-action lawsuit claiming the authority governing
most aspects of collegiate sports has conspired with colleges and universities to impose artificial limits on
sports scholarships, actions the suit claims violate federal antitrust laws. The lead plaintiff in the lawsuit,


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former Rice University football player Joseph Agnew, had been heavily recruited by several top-tier Division I
schools. Agnew accepted a full scholarship to Rice and played football starting in 2006 as a freshman. During
his sophomore year, the coach who recruited Agnew left Rice to coach at another Division I school, and
Agnew saw his playing time significantly reduced under the new coaching regime, according to the lawsuit.

2011 | NCAA Concussions Owens et al. v NCAA
In this proposed class action, the firm represented Andre Owens, a former Howard University football player,
against the NCAA and the university, claiming “…up until 2010, Defendants NCAA and Howard kept players
and the public in the dark about an epidemic that was slowly killing former college athletes.” In a single
football season, the complaint reads, athletes absorb more than 1,000 impacts greater than 10 Gs
(gravitational forces), with the majority of them exceeding 20 Gs, and some approaching 100 Gs or force.

2012 | NCAA Concussions Arrington et al. v NCAA
This class action merged the Owens case with claims from various plaintiffs – Derek Owens, Mark Turner and
Angela Palacio. to bring further pressure on the NCAA, urging swift action to minimize impacts of the NCAA’s
alleged ongoing negligence and oversight concerning concussions, protocols and return-to-play guidelines.

2012 | NCAA Financial Aid & Compensation Rock v. NCAA
A highly recruited college quarterback whose scholarship was revoked after a coaching change challenged
the NCAA in court, claiming that the organization’s limits on scholarships violate federal antitrust laws. Rock
was recruited by a number of Division I schools, and ultimately decided to attend Gardner-Webb University in
North Carolina after the school offered a football scholarship. The coach at Gardner-Webb allegedly
promised Rock that as long as he remained eligible for competition and kept his grades up, he would get to
keep his scholarship. However, shortly after Rock agreed to take an internship, Wardner-Webb replaced its
football coach. The new coach questioned Rock’s commitment to the team and expressed dissatisfaction
with his choice to accept the internship, which would necessitate missing some practice sessions, the
complaint states. Ultimately, Rock’s scholarship was revoked.

2013 | NCAA Concussions Silk v. Bowling Green University
In the continued fight for college athletes’ health and wellness, Hagens Berman filed a lawsuit against
Bowling Green State University and its football staff members on behalf of a former college athlete, Cody Silk,
alleging that they failed to protect the player from multiple concussions and residual head trauma.

2014 | NCAA Concussions Walen v. Portland State University et al.
Hagens Berman filed a lawsuit on behalf of player Zach Walen against Portland State University, Oregon
Health Sciences University and the NCAA for failing to provide appropriate post-concussion medical care and
negligently clearing him to return to football. Walen, whose father Mark Walen is a former NFL (Dallas
Cowboys) player and former NCAA college football athlete, was recruited to play football for the PSU Vikings
but suffered a severe concussion after receiving a direct blow to his head during his first game on Sept. 1,
2012.

2014 | NCAA Financial Aid & Compensation Alston v. NCAA et al
Hagens Berman filed the first-of-its-kind lawsuit alleging that the NCAA and these five Power Conferences
have systematically colluded to disrupt the free market and deprive FBS football and Division I men’s and
women’s basketball players of the full economic benefits of their labor. According to the complaint, NCAA
rules artificially depress the value of athletic scholarships — known as Grants-in-Aid or GIAs — to typically
several thousand dollars less per year, per player, than the actual cost to attend an NCAA school.
In late 2017, U.S. District Judge Claudia Wilken granted final approval of a $208 million settlement on behalf
of the tens of thousands of current and former college-athletes impacted by the prior NCAA cap on grant-in-
aid scholarships. On Sept. 23, 2021, the NCAA’s Southeastern Conference (SEC) became the first conference

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to formally allow college-athletes to begin receiving the education-based benefits resulting from the
Supreme Court’s 9-0 ruling in Hagens Berman’s Alston case. Schools are now allowed to provide benefits
tethered to education up to $6,000 per year.

2014 | NCAA Financial Aid & Compensation Kindler v. NCAA et al
On behalf of a former college football player, Hagens Berman filed an antitrust class-action lawsuit against
the NCAA and its most powerful conference members claiming they agreed in violation of national antitrust
laws to unlawfully cap the value of athletic scholarships. The plaintiff, former West Virginia University
offensive lineman Nick Kindler, contended that the NCAA’s valuation of athletic scholarships is far below the
actual cost of attending school, and far below what the free market would bear. The firm planned that the
Alston and Kindler cases be combined so that the players could fight together for the rights of all football
players in the major conferences.

2015 | NCAA Insurance & Medical Bills
The firm investigated the rights to reimbursement for out-of-pocket medical expenses from athletic-related
injuries for those harmed by limited health insurance coverage for college athletes.

2015 | Transfer Rights Pugh v. NCAA
Former Weber State cornerback Devin Pugh filed this class-action lawsuit challenging the NCAA’s transfer
rules, alleging hypocrisy when coaches change jobs. Pugh was promised a four-year scholarship at Weber
State which was pulled when Wildcats coach Ron McBride retired in 2011. A year later, his grant-in-aid was
no longer promised by McBride’s successor.

2016 | Transfer Rights Deppe v. NCAA
The firm filed an antitrust class-action lawsuit on behalf of a Division I college-athlete at Northern Illinois
University against the NCAA, calling its transfer rules “unlawful” and anticompetitive. The lawsuit sought to
represent any NCAA Division I football player who, since November 2011, sought to transfer from one NCAA
Division I football school to another, but was athletically ineligible to participate in NCAA Division I football
for any period under the NCAA’s transfer rules.

2016 | Transfer Rights Vassar v. NCAA
In this proposed class action, the plaintiff, John “Johnnie” Vassar, was a men’s basketball player who joined
Northwestern during the 2014-2015 academic year. The suit states that the transfer rules established by the
NCAA and carried out by Northwestern, “restrict the freedom of student athletes in violation of antitrust
law.” After accepting an athletic scholarship to Northwestern, Johnnie was subjected to a variety of efforts
from the university to transfer and to take away his athletic scholarship, including verbal harassment, falsified
records of misconduct and more.

2020 | Name, Image and Likeness Rights House v. NCAA
Hagens Berman represents Grant House, a current member of ASU men’s swimming and diving team, and
Sedona Prince, a current member of the University of Oregon women’s basketball team, in a class-action
lawsuit against the NCAA. The lawsuit seeks to hold the NCAA accountable to college athletes via injunction
and damages for the NCAA’s alleged antitrust violations regulating the profits gained from the use of college
athletes’ names, images and likenesses.

2023 | Post-Alston Scholarship Payments | Hubbard v. NCAA
Hagens Berman filed this follow up lawsuit to Alston alleging that certain NCAA member schools have failed
to comply with the Alston ruling establishing that member schools may pay college athletes up to $5,980 in
funds as part of their recruiting, allegedly preventing college athletes from receiving the payments they
deserve.

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2023 | NCAA Pay-for-Play | Carter v. NCAA et al.
Hagens Berman filed a new lawsuit against the NCAA alleging it has violated antitrust laws via its rules
preventing student athletes from receiving a portion of television broadcast and other revenue produced by
their labor. The Power Five Conferences alone hold contracts that will generate $20 billion in TV broadcast
revenue, of which student athletes will not see a dime, and Hagens Berman believes this is a clear example of
illegal wage-fixing.

2023 | Rights to Fair Play: Title IX
Hagens Berman is investigating reports that a number of intercollegiate athletics programs may have violated
Title IX, a federal law that prohibits gender discrimination at publicly funded universities. For example,
reports found that, in the 2018-19 and 2019-20 seasons, for every dollar Division I schools spent on travel,
equipment and recruitment for male athletes, they spent only 71 cents on female athletes. Additionally,
some universities may have artificially inflated the number of women on their athletics rosters to make it
appear that they are in compliance with Title IX when they actually are not.




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RELEVANT EXPERIENCE



Antitrust Leadership Positions
Hagens Berman’s work in antitrust class-actions led to tremendous recoveries for consumers and
monumental victories in this complex area of law. Our antitrust legal team takes an innovative, efficient
approach to antitrust law and tries each case with unmatched determination and skill. This dedication has led
to historic recoveries, including the largest antitrust settlement in history at its time (Visa
Check/MasterMoney Antitrust Litigation), recovery to consumers totaling twice their losses (In Re: Elec.
Books Antitrust Litig.), one of the largest U.S. classes every certified (In re Broiler Chicken Antitrust Litigation)
and one of the largest certified indirect purchaser cases at the time (Keller et al v. Electronic Arts Inc and
National Collegiate Athletic Association). The firm also championed the two largest U.S. antitrust recoveries
in 2022, totaling nearly $800 million (In re: Ranbaxy Generic Drug Application Antitrust Litigation and In re
Glumetza Antitrust Litigation). Hagens Berman’s antitrust lawyers also recently culminated a legal blitz on the
NCAA, “leaving the NCAA more vulnerable than ever” (Associated Press) and “delivered a heavy blow”
(Washington Post) in NCAA Grants-in-Aid Scholarships Litigation and NCAA Name, Image and Likeness (NIL)
Litigation. The firm’s antitrust attorneys have been awarded as Elite Trial Lawyers by The National Law
Journal, a Practice Group of the Year by Law360 and have been highlighted for multiple Outstanding Antitrust
Litigation achievements by the American Antitrust Institute.

In a firm where sizable settlements and impactful victories are routinely achieved and awarded, our
successes have only spurred a greater dedication to our capabilities. We remain hungry for opportunities to
make the world a fairer place for consumers and to ensure the world’s largest corporations play by the rules.

Note: Cases may appear in more than one practice to give full picture of work in any one practice area.


SPORTS ANTITRUST LITIGATION
 CASE NAME                                        CASE NAME                        CASE NAME                  CASE NAME
                                                                           Damages Claims Settled;            $208 Million
 NCAA Athletic Grant-in-Aid Cap Antitrust       Co-Lead Counsel
                                                                        Injunction Granted After Trial
 NCAA/EA Video Games Likeness                   Co-Lead Counsel                      Settled                  $60 Million
 NCAA Student-Athlete Name, Image and                                        Settlement Submitted for
                                                Co-Lead Counsel                                               Multibillion
 Likeness                                                                      Preliminary Approval


BIG TECH ANTITRUST LITIGATION
 CASE NAME                                         POSITION                        CASE STATUS                SETTLEMENT
 Apple E-Books Antitrust Litigation             Co-Lead Counsel                       Settled                 $616 Million
 Apple iOS App Developers Antitrust              Class Counsel                        Settled                 $100 Million
 Google Play Store App Developers                                                     Settled                  $90 Million
                                                Co-Lead Counsel
 Antitrust
 Amazon Buy Box Antitrust (U.K.)                Co-Lead Counsel                       Active
 Amazon E-Books Price-Fixing Antitrust          Co-Lead Counsel                       Active
 Amazon.com Antitrust (De Coster)               Co-Lead Counsel                       Active
 Amazon Online Retailer Consumer                                                      Active
                                            Interim Co-Lead Counsel
 Antitrust (Frame-Wilson)
 Facebook Antitrust                         Interim Co-Lead Counsel                   Active



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AGRICULTURAL ANTITRUST LITIGATION
 CASE NAME                                         POSITION                      CASE STATUS                 SETTLEMENT
 Dairy Price-Fixing Litigation                   Class Counsel                       Settled                  $52 Million
 Poultry Processing Wage-Fixing Antitrust                              Settlements Reached, Litigation      $217.2 Million
                                            Interim Co-Lead Counsel       Ongoing with Remaining              Reached
                                                                                Defendants
 Broiler Chicken Antitrust                      Co-Lead Counsel               Settlements Reached            $181 Million
 Pork Antitrust                                 Co-Lead Counsel               Settlements Reached             $95 Million
 Turkey Antitrust                           Interim Co-Lead Counsel           Settlements Reached            $4.62 Million
 Beef Antitrust                             Interim Co-Lead Counsel                  Active


CONSUMER PROTECTION ANTITRUST LITIGATION
 CASE NAME                                         POSITION                      CASE STATUS                 SETTLEMENT
 EA Madden NFL Antitrust                         Class Counsel                       Settled                  $27 Million
 Real Estate Commissions Antitrust              Co-Lead Counsel               Settlements Reached            $730 Million
 Yardi Rent Price-Fixing Antitrust            Interim Class Counsel                  Active


EMPLOYMENT ANTITRUST LITIGATION
 CASE NAME                                        CASE NAME                       CASE NAME                  CASE NAME
 Animation Workers Antitrust                    Co-Lead Counsel                      Settled                $168.95 Million
                                                                       Settlements Reached, Litigation
                                                                                                            $217.2 Million
 Poultry Processing Wage-Fixing Antitrust   Interim Co-Lead Counsel       Ongoing with Remaining
                                                                                                              Reached
                                                                                Defendants


FEE OVERPRICING ANTITRUST LITIGATION
 CASE NAME                                         POSITION                      CASE STATUS                 SETTLEMENT
 Visa Check/MasterMoney Antitrust               Co-Lead Counsel                      Settled                  $25 Billion
                                                                                                             $66.7 Million
                                                                                                              Approved,
 Visa MasterCard ATM                            Co-Lead Counsel              Settlements in Progress
                                                                                                          $197.5 Preliminarily
                                                                                                              Approved


PHARMACEUTICAL FRAUD ANTITRUST LITIGATION
 CASE NAME                                        CASE NAME                       CASE NAME                  CASE NAME
 Glumetza Antitrust                             Co-Lead Counsel                      Settled                $453.85 Million
 Suboxone Antitrust                             Co-Lead Counsel                      Settled                 $385 Million
 Ranbaxy Inc. Antitrust                         Co-Lead Counsel                      Settled                 $340 Million
 Flonase Antitrust                              Co-Lead Counsel                      Settled                 $150 Million
 Prograf Antitrust                              Co-Lead Counsel                      Settled                  $98 Million
 Celebrex Antitrust                           Interim Lead Counsel                   Settled                  $94 Million
 Lipitor Antitrust                              Co-Lead Counsel                      Settled                  $93 Million
 Skelaxin Antitrust                               Lead Counsel                       Settled                  $73 Million
 Tricor Antitrust                               Co-Lead Counsel                      Settled                 $65.7 Million
 Allergan Restasis Antitrust                  Interim Lead Counsel                   Settled                $51.25 Million



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 Toprol XL Antitrust                            Co-Lead Counsel                      Settled                 $20 Million
                                             Lead Counsel & Interim
 Zetia Antitrust                                                                     Settled                 Confidential
                                                 Class Counsel
 Generic Pharmaceuticals Pricing Antitrust            PSC                     Settlement in Progress         $86 Million
 Intuniv Antitrust                                Lead Counsel                Settlements Reached
 Effexor XR Antitrust                         Interim Class Counsel                  Active
 Gilead HIV Antiretroviral Antitrust            Co-Lead Counsel                      Active
 Nexium Antitrust                               Co-Lead Counsel                      Active
 Sensipar Antitrust Litigation                  Co-Lead Counsel                      Active
 Tracleer Antitrust                             Co-Lead Counsel                      Active
 Niaspan Antitrust                              Co-Lead Counsel                      Active
 Actos Antitrust                             Interim Co-Lead Counsel                 Active
 Vascepa Antitrust                           Interim Co-Lead Counsel                 Active
 Xyrem Antitrust Litigation                           PSC                            Active




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RELEVANT EXPERIENCE



Antitrust Litigation Experience
SPORTS ANTITRUST LITIGATION
No other law firm has stood against the NCAA as comprehensively as Hagens Berman, which has successfully
brought antitrust class-action litigation against the NCAA concerning concussions; name, image and likeness
(NIL) rights; and caps on grants-in-aid payments made to college athletes by schools and conferences. Hagens
Berman has pioneered the area of sports litigation, fighting for the rights of student-athletes across the
nation, and our firm continues to expand this area of practice through our novel applications of the law.

 CASE                                                              STATUS                 POSITION       RESULT
                                                              Damages Claims
NCAA Athletic Grant-in-Aid Cap Antitrust                     Settled; Injunction       Co-Lead Counsel     $208 Million
                                                             Granted After Trial
NCAA/EA Video Games Likeness Antitrust                             Settled             Co-Lead Counsel     $60 Million

                                                                    Active                                 $2.78 Billion
                                                                                                            Settlement
NCAA Student-Athlete Name, Image and Likeness Antitrust        ✓ MTD Denied            Co-Lead Counsel
                                                                                                           Preliminarily
                                                               ✓ Class Certified                             Approved
                                                                  Active
NCAA Transfer Antitrust
                                                               ✓ MTD Denied
NCAA College Athlete Scholarship Payments                           Active
NCAA Student-Athlete Pay to Play                                    Active



AGRICULTURAL ANTITRUST LITIGATION
The firm’s total settlements in this area of litigation are valued at more than $636.32 million and have
affected the lives of U.S. consumers and employees in the meat-processing industry. As inflation continues to
rise, combatting anticompetitive schemes raising the cost of food is an issue pertinent to families across the
nation.
 CASE                                                            STATUS                   POSITION           RESULT
Dairy Price-Fixing Litigation                                    Settled                Class Counsel      $52 Million
                                                                                                           $95 Million,
                                                                  Active
Pork Antitrust                                                                         Co-Lead Counsel      Litigation
                                                             ✓ Class Certified
                                                                                                            Ongoing
                                                                  Active                                   $181 Million
Broiler Chicken Antitrust                                    ✓ MTD Denied              Co-Lead Counsel     Preliminarily
                                                             ✓ Class Certified                              Approved
                                                                  Active                   Interim
Beef Antitrust
                                                             ✓ MTD Denied              Co-Lead Counsel
                                                                  Active                   Interim
Turkey Antitrust
                                                             ✓ MTD Denied              Co-Lead Counsel
Southwest Dairy Farmer Antitrust                                  Active




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CONSUMER PROTECTION ANTITRUST LITIGATION
Hagens Berman’s consumer-focused approach has led to historic verdicts and achievements, making real
change happen. Our cases have affected millions of consumers and continue to impact everyday lives each
year.

 CASE                                                              STATUS                 POSITION                RESULT

EA Madden NFL Antitrust                                             Settled             Class Counsel           $27 Million

                                                                                                               Confidential
Hotel Room Overpricing                                              Settled
                                                                                                               Settlement
                                                                                                               $418 Million
                                                                    Active                                       Approved,
Real Estate Commissions Antitrust                              ✓ MTD Denied            Co-Lead Counsel       Additional $229.8
                                                               ✓ Class Certified                             Million at Various
                                                                                                                   Stages
                                                                                                               $27.5 Million
SmileDirectClub Aligners Price-Fixing Antitrust                     Active                                      Settlement
                                                                                                                 Reached
                                                                   Active
Las Vegas Hotels Price-Fixing Antitrust
                                                                ✓ MTD Denied

Yardi Rent Price-Fixing Antitrust – Nationwide                      Active           Interim Class Counsel

PayPal Fees Antitrust                                               Active




EMPLOYMENT ANTITRUST LITIGATION
Hagens Berman’s antitrust legal team focuses on improving the lives of everyday people, including
investigating and litigating instances of wage-fixing. The firm has secured settlements in various areas of
employment, often in those whose employers hire veterans and other marginalized communities.

 CASE                                                              STATUS                 POSITION                RESULT

 Animation Workers Antitrust                                        Settled            Co-Lead Counsel         $169 Million
                                                                   Active                  Interim           $217.2 Million at
 Poultry Processing Wage-Fixing Antitrust
                                                                ✓ MTD Denied           Co-Lead Counsel        Various Stages
                                                                   Active                                    $200.2 Million at
 Red Meat Processing Wage-Fixing Antitrust
                                                                ✓ MTD Denied                                  Various Stages
 Aerospace Employee Wage-Fixing Antitrust                           Active
 Naval Architects and Marine Engineers Wage-Fixing
                                                                    Active
 Antitrust



FEES ANTITRUST LITIGATION
One of our firm’s key strengths is its eye for detail. Hagens Berman’s legal team includes attorneys versed in
forensic accounting, and between our legal team and hired experts, we leave no stone unturned, uncovering
fraud in the area of fees and unlawful antitrust schemes.



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 CASE                                                              STATUS                POSITION             RESULT

Visa Check/MasterMoney Antitrust                                    Settled           Co-Lead Counsel        $25 Billion
                                                                                                           $66.7 Million,
Visa MasterCard ATM Antitrust                                       Active            Co-Lead Counsel      $197.5 Million
                                                                                                             Pending
PayPal Fees Antitrust                                               Active



ANTITRUST LITIGATION AGAINST HIGH TECH COMPANIES
Hagens Berman brings cutting edge cases against major tech companies. We leverage our resources, breadth
of knowledge and expert litigation strategies against harmful anticompetitive practices, price-fixing and other
instances of antitrust schemes perpetrated by Big Tech. While some of these companies believe they are too
big to fail, our firm is well-practiced in uncovering wrongdoing and holding responsible parties accountable
for widespread anticompetitive practices that can harm millions.

                                                  PRIMARY
                     CASE                       PRACTICE AREA           STATUS              POSITION           RESULT

Apple E-Books Antitrust Litigation                  Antitrust            Settled         Co-Lead Counsel     $616 Million
Apple iOS App Developers US                         Antitrust            Settled          Class Counsel      $100 Million
Google Play Store App Developers                    Antitrust            Settled         Co-Lead Counsel     $90 Million
Amazon Online Retailer Consumer Antitrust           Antitrust           Active               Interim
(Frame-Wilson)                                                       ✓ MTD Denied        Co-Lead Counsel
                                                    Antitrust           Active
Amazon Buy Box U.K.                                                 ✓ Permission to      Co-Lead Counsel
                                                                    Appeal Refused
                                                    Antitrust           Active
Amazon E-Books Price-Fixing                                                              Co-Lead Counsel
                                                                     ✓ MTD Denied
                                                    Antitrust           Active
Amazon.com Antitrust (De Coster)                                                         Co-Lead Counsel
                                                                     ✓ MTD Denied
                                                    Antitrust           Active               Interim
Facebook Antitrust
                                                                     ✓ MTD Denied        Co-Lead Counsel
                                                    Antitrust           Active
Amazon.com Consumer Fraud
                                                                     ✓ MTD Denied
Apple & Amazon.com iPhone & iPad                    Antitrust           Active
Overpricing Antitrust                                                ✓ MTD Denied
                                                    Antitrust           Active
Apple Pay Payment Card Issuer Antitrust
                                                                     ✓ MTD Denied
Amazon Buy Box U.S.                                 Antitrust            Active
Apple iCloud Antitrust                              Antitrust            Active
Apple iPhone Overpricing Antitrust                  Antitrust            Active




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MANUFACTURER PRICE-FIXING ANTITRUST LITIGATION
In antitrust law, price-fixing schemes are cloistered within heavily shrouded groups of major market kingpins.
Therein, they seek to protect and hide their behavior. Manufacturing is a common landscape for this
behavior, and our antitrust team is well-versed in investigating antitrust fraud in this space.

 CASE                                                              STATUS                POSITION            RESULT

Batteries Antitrust                                                 Settled           Co-Lead Counsel      $113 Million
DRAM Manufacturers                                                  Settled            Class Counsel       $406 Million
LG Philips and Toshiba LCD                                          Settled                                $470 Million
Optical Disc Drives (ODD)                                           Settled            Lead Counsel        $205 Million
Panasonic Resistors Antitrust                                       Settled           Co-Lead Counsel       $50 Million



PHARMACEUTICAL FRAUD ANTITRUST LITIGATION
In the pharmaceutical arena, Hagens Berman represents purchasers of all types in lawsuits alleging that drug
companies illegally blocked or delayed generic drugs from coming to market. By keeping generics out of the
market, drug companies force purchasers to continue buying their expensive brand-name drugs, lining drug
companies' pockets at the expense of those who pay for drugs. Our firm's pharmaceutical antitrust
recoveries have returned many hundreds of millions of dollars to purchasers.

 CASE                                                              STATUS               POSITION             RESULT
Glumetza Antitrust                                                 Settled           Co-Lead Counsel       $453 Million
                                                                                    Co-Lead Counsel,
Suboxone Antitrust                                                 Settled                                 $385 Million
                                                                                  Direct Purchaser Class
Ranbaxy Inc. Antitrust                                             Settled           Co-Lead Counsel       $340 Million
Flonase Antitrust                                                  Settled           Co-Lead Counsel       $150 Million
Prograf Antitrust                                                  Settled           Co-Lead Counsel       $98 Million
Celebrex Antitrust                                                 Settled         Interim Lead Counsel    $94 Million
Lipitor Antitrust                                                  Settled           Co-Lead Counsel       $93 Million
Relafen Antitrust                                                  Settled                                 $75 Million
Skelaxin Antitrust                                                 Settled            Lead Counsel         $73 Million
Tricor Antitrust                                                   Settled           Co-Lead Counsel       $65 Million
Allergan Restasis Antitrust                                        Settled         Interim Lead Counsel    $51 Million
Toprol XL Antitrust                                                Settled           Co-Lead Counsel       $20 Million
                                                                                      Lead Counsel &       Confidential
Zetia Antitrust                                                    Settled
                                                                                   Interim Class Counsel     Terms
                                                                                                            $86 Million
                                                                                    Plaintiffs' Steering
Generic Pharmaceuticals Pricing Antitrust                           Active                                 Preliminarily
                                                                                        Committee
                                                                                                             Approved
                                                                                     Interim Co-Lead
Actos Antitrust                                                     Active
                                                                                         Counsel
Effexor XR Antitrust                                                Active         Interim Class Counsel
Gilead HIV Antiretroviral Antitrust                                 Active           Co-Lead Counsel



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Intuniv Antitrust                                                   Active            Lead Counsel
                                                                                    Co-Lead Counsel,
Niaspan Antitrust                                                   Active
                                                                                  Direct Purchaser Class
Sensipar Antitrust Litigation                                       Active          Co-Lead Counsel
Tracleer Antitrust                                                  Active          Co-Lead Counsel
                                                                                     Interim Co-Lead
Vascepa Antitrust                                                   Active
                                                                                         Counsel
                                                                                    Plaintiffs' Steering
Xyrem Antitrust Litigation                                          Active
                                                                                        Committee
Amitiza Antitrust                                                   Active
Copaxone Antitrust                                                  Active
Eylea Antitrust                                                     Active
Lantus (Insulin Glargine) Antitrust                                 Active
Pomalyst (Pomalidomide) Antitrust                                   Active
Revlimid Antitrust                                                  Active
Stelara Antitrust                                                   Active




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TEAM



                                    MANAGING PARTNER

                                    Steve W. Berman

                                    Served as co-lead counsel against Big Tobacco, resulting in the
                                    largest settlement in world history, and at the time the largest
                                    automotive, antitrust, ERISA and securities settlements in U.S.
 steve@hbsslaw.com
                                    history

 T 206-623-7292
                                    INTRODUCTION
 F 206-623-0594
                                    Steve Berman has dedicated this career as a class-action plaintiffs’ lawyer to improving
 1301 Second Avenue                 the lives of those most in need. He represents large classes of consumers, investors and
 Suite 2000                         employees in large-scale, complex litigation held in state and federal courts. Steve's
 Seattle, WA 98101                  trial experience has earned him significant recognition and led The National Law Journal
                                    to name him one of the 100 most powerful lawyers in the nation, and to repeatedly
 YEARS OF EXPERIENCE                name Hagens Berman one of the top 10 plaintiffs’ firms in the country. Steve’s class-
 44                                 action lawsuits have led to record-breaking settlements, historic changes to industries
                                    and made real change possible for millions of individuals.
 PRACTICE AREAS
                                    Steve co-founded Hagens Berman in 1993 after his prior firm refused to represent
 Anti-Terrorism
                                    several young children who consumed fast food contaminated with E. coli — Steve
 Automotive Litigation
                                    knew he had to help. In that case, Steve alleged that the poisoning was the result of
 Civil & Human Rights
 Class Action
                                    Jack in the Box’s cost cutting measures and negligence. He was further inspired to build
 Consumer Rights
                                    a firm that vociferously fought for the rights of those most in need. Berman’s innovative
 Emissions Litigation
                                    approach, tenacious conviction and impeccable track record have earned him an
 Environmental Litigation
                                    excellent reputation and numerous historic legal victories. He is considered one of the
 Governmental Representation
                                    nation’s most successful class-action attorneys and has been praised for securing
 High Tech Litigation               tangible benefits for class members, as well as outstanding monetary relief. Steve is
 Intellectual Property              particularly known for his tenacity in forging settlements that return a high percentage
 Investor Fraud                     of recovery or meaningful industry change to class members.
 Patent Litigation                  Print & Online Feature Interviews »
 Qui Tam
 Securities                         CURRENT ROLE
 Sexual Abuse & Harassment          • Managing Partner of Hagens Berman Sobol Shapiro LLP and Hagens Berman EMEA
 Sports Litigation                    LLP (U.K.), U.S. Managing Member of HBSS France
 Whistleblower
                                    CURRENT CASES
 BAR ADMISSIONS
                                    Steve leads the firm’s efforts in the areas of antitrust, consumer protection and more,
  Illinois
                                    maintaining a leading edge amid shifting trends and technology. His active cases
  Washington
                                    concern billions of dollars in damages and affect hundreds of millions of individuals.
  Foreign Registered Attorney in
                                    Steve’s caseload spans several industries, including technology, college sports,
   England and Wales
                                    agriculture and wages and include the following highlights.
 COURT ADMISSIONS
                                    ANTITRUST LITIGATION
  Supreme Court of the United
   States
                                    The antitrust lawsuits that Steve Berman has led have secured settlements valued at
                                    more than $27 billion, spotlighting anticompetitive practices that have harmed
                                    consumers across various industries. Steve’s outstanding work in this field has earned


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  U.S. Court of Appeals for the      the firm accolades and awards, and his current caseload speaks to the breadth of the
   First Circuit                      firm’s impact.
  U.S. Court of Appeals for the
                                       CASE                          DESCRIPTION
   Second Circuit
  U.S. Court of Appeals for the                                     Class action against Amazon for violating state consumer protection
   Third Circuit                       Amazon Buy Box                laws through the alleged use of a biased algorithm
  U.S. Court of Appeals for the                                     Status: Complaint filed
   Fifth Circuit
  U.S. Court of Appeals for the
                                                                     Class action accusing Amazon of establishing an illegal monopoly of
                                       Amazon E-Books Price-Fixing
                                                                     the e-books market and charging artificially inflated prices
   Sixth Circuit                       Co-Lead Counsel
                                                                     Status: Court denies Amazon’s motion to dismiss monopoly claims
  U.S. Court of Appeals for the
   Seventh Circuit                     Amazon Online Retailer
                                                                     Class action accusing Amazon of increasing prices for online
  U.S. Court of Appeals for the       Consumer Antitrust (Frame-
                                                                     purchases made via other retailers
   Eighth Circuit                      Wilson)
                                                                     Status: Amazon’s motion to dismiss claims denied
                                       Interim Co-Lead Counsel
  U.S. Court of Appeals for the
   Ninth Circuit                                                     Class action accusing Amazon of violating federal antitrust laws,
  U.S. Court of Appeals for the       Amazon.com Antitrust
                                                                     causing customers to pay artificially high prices for products
                                       (De Coster)
   Tenth Circuit                                                     purchased via Amazon
                                       Co-Lead Counsel
  U.S. Court of Appeals for the                                     Status: Motion to dismiss denied
   Eleventh Circuit
                                                                     Class action accusing Apple of violating antitrust laws and
  U.S. Court of Appeals for the
                                                                     establishing a monopoly through its iOS cloud-based storage
   D.C. Circuit                        Apple iCloud Antitrust
                                                                     policies
  U.S. Court of Appeals for the                                     Status: Complaint filed
   Federal Circuit
  U.S. Court of Federal Claims                                      Class action accusing Apple of intentionally monopolizing the
  U.S. District Court for the
                                                                     billion-dollar mobile wallet market on iOS platforms, forcing
                                       Apple Pay Payment Card
                                                                     payment card issuers to pay supracompetitive fees and stifling
   District of Colorado                Issuer Antitrust
                                                                     innovation
  U.S. District Court for the                                       Status: Motion to dismiss denied in part
   Northern District of Illinois
  U.S. District Court for the                                       Class action representing current and former NCAA college athletes
   Central District of Illinois        NCAA Student-Athlete Name,    accusing the NCAA and its conferences of illegally limiting the
                                       Image and Likeness            compensation athletes may receive for the use of their names,
  U.S. District Court for the
                                       Co-Lead Counsel               images and likenesses
   Eastern District of Michigan
                                                                     Status: Preliminary approval of $2.78 billion settlement granted
  U.S. District Court for the
   Eastern District of Washington      Real Estate Commissions       Class action against four national broker franchises alleging parties
  U.S. District Court for the         Antitrust                     illegally inflated commissions associated with home sales
   Western District of Washington      Co-Lead Counsel               Status: Settlements reached totaling $693.2 million
  Supreme Court of Illinois
                                                                     Class action alleging that Visa and MasterCard, with BofA, JP
  Supreme Court of Washington                                       Morgan Chase and Wells Fargo, established uniform agreements
                                                                     with U.S. banks, preventing ATM operators from setting access fees
 EDUCATION
                                       Visa Mastercard ATM           below the level of fees charged on Visa’s and MasterCard’s
                                       Co-Lead Counsel               networks
                                                                     $197.5 million settlement with Visa and Mastercard receives
                                                                     preliminary approval, bringing total settlements to $264.2 million if
 University of Chicago Law School,                                   approved
             J.D., 1980

                                      AGRICULTURE ANTITRUST LITIGATION
                                      The firm’s total settlements in this area of litigation is valued at more than $636.32
 University of Michigan, B.A., 1976
                                      million and have affected the lives of U.S. consumers and employees in the meat-
                                      processing industry. As inflation continues to rise, combatting anticompetitive schemes
                                      raising the cost of food is an issue pertinent to families across the nation.




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 AWARDS                               CASE                           DESCRIPTION

                                      Poultry Processing Wage-       Class action alleging wage-fixing agreement between the nation’s
                                      Fixing Antitrust               biggest poultry companies
                                      Interim Co-Lead Counsel        Status: Settlements reached totaling $217.2 million

                                                                     Class action against the nation's largest meat processing companies
                                      Red Meat Processing Wage-      alleging a yearslong wage-fixing agreement, causing employees to
                                      Fixing Antitrust               receive far less than legally owed
                                                                     Status: : Settlements pending before the court total $200.2 million

                                                                     Class action alleging major food corporations engaged in illegal
                                      Beef Antitrust
                                                                     conduct regarding the marketing and sales of beef products
                                      Interim Co-Lead Counsel
                                                                     Status: Motion to dismiss denied

                                                                     Class action accusing major food corporations of increasing the
                                      Broiler Chicken Antitrust      price of chicken in violation of antitrust laws
                                      Co-Lead Counsel                Status: Settlements totaling $181 million are pending court
                                                                     approval, class certification granted

                                                                     Class action alleging pork producers colluded to reduce pork
                                      Pork Antitrust
                                                                     production to artificially inflate prices
                                      Co-Lead Counsel
                                                                     Status: Settlements reached totaling $95 million

                                                                     Class action alleging antitrust scheme by food corporations
                                      Turkey Antitrust
                                                                     Status: Settlement reached with Tyson for $4.62 million, seven
                                      Interim Co-Lead Counsel
                                                                     remaining defendants



                                    AUTO DEFECT & EMISSIONS LITIGATION
                                    Hagens Berman’s settlements in automotive defect and emissions lawsuits are
                                    collectively valued at more than $21.4 billion and have led to significant safety
                                    protocols and changes in the auto industry. Steve’s expertise leading complex litigation
                                    has led him to be hand-selected to champion the rights of vehicle owners. He remains
                                    dedicated to unearthing new instances of defect coverups, emissions cheating and
                                    safety concerns, utilizing the firm’s resources to lead the charge against negligence.
                                      CASE                           DESCRIPTION

                                                                     Class action stemming from Hyundai and Kia’s failure to equip
                                      Hyundai/Kia Car Theft Defect
                                                                     nearly nine million vehicles with an immobilizer antitheft device
                                      Co-Lead Counsel
                                                                     Status: Settlement granted final approval

                                                                     Following Hagens Berman’s $700 million settlement with Mercedes
                                      Daimler Mercedes BlueTEC       for alleged emissions cheating in the U.S., the firm has taken an
                                      Emissions – Australia          advisory role in comparable litigation against Daimler filed in
                                      Advisory Role                  Australia.
                                                                     Status: Pending and active

                                                                     Class action alleging Fiat Chrysler/Stellantis and Cummins placed
                                      FCA Dodge RAM 2500/3500
                                                                     emissions-cheating defeat devices in affected RAM trucks
                                      Emissions – 2007-2012 &
                                                                     Status: 2007-2012 models: motion to dismiss denied in part; 2013-
                                      2013-2023
                                                                     2023 models: complaint filed

                                                                     Class action against Fiat Chrysler/Stellantis alleging a defect in the
                                      FCA Chrysler Pacifica Hybrid
                                                                     design of Chrysler Pacifica hybrid minivans results in spontaneous
                                      Minivan Fire Hazard
                                                                     fires while vehicle is parked and off
                                      Co-lead Counsel
                                                                     Status: Motion to dismiss denied




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                                                                       Class action alleging Chevy Silverado and GMC Sierra trucks with a
                                      General Motors CP4 Fuel
                                                                       Duramax diesel 6.6 V8 engine are equipped with a defective high-
                                      Pump Defect
                                                                       pressure fuel injection pump.
                                      Class Counsel
                                                                       Status: Class certification granted

                                                                       Class action accusing VW of a manufacturing defect in the door
                                      VW Atlas Wiring Harness
                                                                       wiring harness of VW Atlas vehicles, allegedly causing vehicles’
                                      Defect
                                                                       systems to malfunction
                                      Co-Class Counsel
                                                                       Status: Settlement granted preliminary approval



                                    SECURITIES LITIGATION
                                    Hagens Berman’s total settlements in securities litigation valued at more than $2.9
                                    billion, and Steve’s efforts in this area have helped to recover losses for millions of
                                    individuals who have been blindsided by instances of fraud and disinformation
                                    orchestrated by publicly traded companies.
                                      CASE                             DESCRIPTION

                                                                       Class action representing Plantronics investors seeking to recover
                                      Plantronics, Inc. (NYSE: PLT)    damages caused by violations of the Securities Exchange Act of
                                      Co-Lead Counsel                  1934
                                                                       Status: Motion to dismiss denied

                                                                       Class action against Vaxart and controlling shareholder, Armistice,
                                      Vaxart, Inc. (NASDAQ: VXRT)
                                                                       alleging claims under federal securities laws
                                      Lead Counsel
                                                                       Status:$12.015 million partial settlement reached

                                      Zillow Group, Inc. (NASDAQ: Z,   Class action alleging defendants falsely touted the durability and
                                      ZG)                              acceleration of Zillow Offers and improvements to pricing models
                                      Lead Counsel                     Status: Motion to dismiss denied


                                    RECENT SUCCESS
                                    Steve Berman has achieved monumental settlements within the last two years, bringing
                                    hundreds of millions of dollars of relief to classes of everyday individuals affected by
                                    pricing schemes, automotive defects and other instances of wrongdoing. Through his
                                    recent case work, Steve maintains Hagens Berman’s edge and excellence in class-action
                                    litigation.
                                      CASE NAME                              DATE         RECENT SUCCESS

                                      NCAA Student-Athlete Name,
                                                                                          $2.78 billion settlement receives preliminary
                                      Image and Likeness                  10/10/24
                                                                                          approval
                                      Co-Lead Counsel

                                      Hyundai / Kia Car Theft Defect
                                                                          10/01/24        Settlement receives final approval
                                      Co-Lead Counsel

                                      Ford Super Duty Roof Crush          09/30/24        Court denies in part motion to dismiss

                                      BMW X and 335d Diesel
                                                                          09/25/24        Settlement receives final approval
                                      Emissions

                                      USAA Bank Interest & Fees
                                                                          09/06/24        Settlement granted preliminary approval
                                      Class Counsel

                                      General Motors Duramax
                                                                          08/22/24        Dismissal reversed by U.S. Court of Appeals
                                      Emissions



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                                                                                     Washington Supreme Court allows proposed
                                      Amazon.com COVID-19 Price
                                                                        08/08/24     class-action alleging price-gouging to move
                                      Gouging Consumer Litigation
                                                                                     forward

                                      Visa MasterCard ATM                            $197.5 million settlement with Visa and
                                                                        07/26/23
                                      Co-Lead Counsel                                Mastercard receives preliminary approval

                                      Seattle Children’s Hospital
                                      Discrimination & Personal
                                                                        05/16/24     Motion to dismiss WLAD claim denied
                                      Injury
                                      Counsel

                                      Payback
                                                                        05/13/24     Settlement receives final approval
                                      Class Counsel

                                      Real Estate Commissions
                                                                                     $418 million settlement with NAR receives
                                      Antitrust                         04/23/24
                                                                                     preliminary approval
                                      Co-lead Counsel

                                      Hyundai / Kia Engine Fire
                                      Hazard                            04/09/24     Settlement receives final approval
                                      Co-lead Counsel

                                      NCAA/EA Video Games
                                                                                     10,000 athletes revive EA College Football
                                      Likeness                          03/04/24
                                                                                     Videogame following NIL litigation
                                      Co-lead Counsel

                                      University of Washington
                                                                        06/29/23     Class certification granted
                                      College Tuition Payback

                                      Hyundai / Kia Hydraulic
                                      Electronic Control Unit (HECU)    05/05/23     Settlement receives final approval
                                      Fire Hazard

                                      CP4 Fuel Pump Defect –
                                                                        03/31/23     Motion to dismiss denied
                                      GM/Ford/FCA

                                      Pork Antitrust
                                                                        09/27/22     Settlement agreements reached
                                      Co-Lead Counsel

                                                                                     California AG files similar case, echoing Hagens
                                      Amazon.com Consumer Fraud         09/14/22
                                                                                     Berman’s claims

                                      Poultry Processing Wage-
                                      Fixing Antitrust                  07/19/22     Motions to dismiss denied
                                      Interim Co-Lead Counsel


                                    CAREER HIGHLIGHTS
                                    Steve’s career highlights encompass the top cases in world history both in their
                                    historical significance and in their monetary relief. Steve’s total settlements are valued
                                    at more than $316 billion, including the infamous Big Tobacco litigation of the 90s, and
                                    have had major national impact. Steve’s career highlights include Enron pension
                                    protection, justice for victims of Harvey Weinstein, restitution for those affected by
                                    Volkswagen’s Dieselgate scandal, the complete remaking of college sports
                                    compensation and more.




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                                    His career focus remains clear: steadfast representation for those most in need across
                                    the nation. Steve’s cases have brought widespread benefit to classes of individuals
                                    spanning industries and decades. Lawsuits he has settled have reunited Hungarian
                                    Holocaust survivors with priceless family heirlooms, and also enacted major changes in
                                    youth soccer and NCAA sports to promote safety and minimize the risk of concussions.
                                    Below are Steve’s outstanding career highlights.
                                                                       SETTLEMENT
                                      CASE/ROLE                                        NATIONAL IMPACT
                                                                          VALUE

                                                                                       Largest civil settlement in history
                                      State Tobacco Litigation                         The multi-state agreement required tobacco
                                      Special Assistant Attorney                       companies to pay the states $260 billion and
                                                                       $260 billion
                                      General Representing 13                          submit to broad advertising and marketing
                                      States                                           restrictions, leaving a lasting and widespread
                                                                                       impact.

                                                                                       Largest antitrust settlement in U.S. history at
                                                                                       the time
                                      Visa Check/MasterMoney
                                                                                       Agreements with Visa and Mastercard secured
                                      Antitrust Litigation              $25 billion
                                                                                       relief valued at as much as $25-87 billion, and
                                      Co-lead Counsel
                                                                                       injunctive relief reducing interchange rates,
                                                                                       among other benefits.

                                                                                       Largest ever brought against any automaker
                                      Volkswagen/Porsche/Audi
                                                                                       Hagens Berman’s automotive legal team was
                                      Emissions Scandal
                                                                                       the first to file in this historic lawsuit against
                                      Plaintiffs’ Steering Committee   $14.7 billion
                                                                                       Volkswagen for its emissions cheating and
                                      and Settlement Negotiating
                                                                                       masking of harmful pollutants, culminating in a
                                      Team
                                                                                       historic settlement.

                                                                                       The firm achieved a monumental settlement on
                                                                                       behalf of Volkswagen dealerships across the
                                      Volkswagen Franchise
                                                                                       U.S. blindsided by the automaker’s emissions
                                      Dealerships                      $1.67 billion
                                                                                       cheating, returning an average payment to each
                                      Lead Counsel
                                                                                       Dealer Settlement Class Member of
                                                                                       approximately $1.85 million.

                                                                                       Largest automotive settlement in history at
                                                                                       the time
                                      Toyota Sudden, Unintended
                                                                                       The firm did not initially seek to lead this
                                      Acceleration                     $1.6 billion
                                                                                       litigation but was sought out by the judge for its
                                      Co-lead Counsel
                                                                                       wealth of experience in managing very complex
                                                                                       class-action MDLs.

                                                                                       The firm achieved a settlement in response to a
                                      Hyundai / Kia Theta II GDI                       defect in 4.1 million Hyundai and Kia vehicles
                                      Engine Fire Hazard Settlement    $1.3 billion    equipped with Theta II GDI engines putting
                                      Co-lead Counsel                                  owners at risk for spontaneous, non-collision
                                                                                       engine fires or premature engine failure.

                                                                                       Spurred by the firm’s success in the Volkswagen
                                                                                       Dieselgate case, Steve independently tested
                                      Mercedes BlueTEC
                                                                       $700 million    diesel vehicles across manufacturers,
                                      Co-lead Counsel
                                                                                       uncovering additional instances of emissions-
                                                                                       cheating, masked via illegal defeat devices.




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                                                                                      This antitrust lawsuit alleged Apple and five of
                                                                                      the nation’s top publishers colluded to raise the
                                                                                      price of e-books for U.S. consumers. Steve’s
                                      Apple E-Books Antitrust                         litigation resulted in an unheard of recovery
                                                                       $568 million
                                      Co-lead Counsel                                 equal to twice consumers' actual damages.
                                                                                      Apple took the case to the U.S. Supreme Court,
                                                                                      where it denied Apple’s request to review the
                                                                                      case.

                                                                                      Steve was named co-lead counsel in this action
                                                                                      that led to a rollback of benchmark prices of
                                      McKesson Drug Class                             hundreds of brand name drugs, and relief for
                                      Litigation                       $350 million   third-party payers and insurers. His discovery of
                                      Co-lead Counsel                                 the McKesson scheme led to follow up lawsuits
                                                                                      by governmental entities and recovery in total
                                                                                      of over $600 million.

                                                                                      Drug prices charged to consumers and payers
                                                                                      across the nation are significantly more than the
                                                                                      cost to produce them. In many cases, Big
                                      Average Wholesale Price
                                                                       $338 million   Pharma conspires with other companies to
                                      Litigation
                                                                                      create these false profits. Hagens Berman has
                                                                                      helped several classes of plaintiffs obtain
                                                                                      multimillion-dollar judgments.

                                                                                      Attorneys represented 24,000 Enron employees
                                                                                      claiming the company recklessly endangered
                                      Enron Pension Protection
                                                                                      retirement funds, causing some employees to
                                      Litigation                       $250 million
                                                                                      lose hundreds of thousands of dollars almost
                                      Co-lead Counsel
                                                                                      overnight, in a major economic milestone in U.S.
                                                                                      history.

                                                                                      Following the historic market crash in 2008,
                                                                                      Hagens Berman filed this class action against
                                      BoA Homeloans                    $250 million   Bank of America, Countrywide and LandSafe,
                                                                                      alleging their collusion was in direct violation of
                                                                                      the RICO Act and other laws.

                                      McKesson Governmental                           Steve was lead counsel for a nationwide class of
                                      Entity Class Litigation          $82 million    local governments that resulted in a settlement
                                      Lead Counsel                                    for drug price-fixing claims.

                                                                                      This historic settlement against JPMorgan
                                                                                      involved three simultaneous, separately
                                                                                      negotiated settlements totaling more than $2.2
                                      JPMorgan Madoff Lawsuit          $218 million
                                                                                      billion, in which Hagens Berman returned
                                                                                      hundreds of millions of dollars on behalf of
                                                                                      Bernard L. Madoff investors.

                                                                                      Steve pioneered this historic case which forever
                                                                                      changed NCAA sports and the lives of 53,748
                                                                                      class members. The case culminated in a $208
                                                                                      million settlement regarding damages and
                                                                                      injunctive relief secured through a unanimous
                                      NCAA Athletic Grant-in-Aid                      U.S. Supreme Court decision in favor of
                                      Cap Antitrust                    $208 million   plaintiffs. According to the Court, the NCAA
                                      Co-lead Counsel                                 “permanently restrained and enjoined from
                                                                                      agreeing to fix or limit compensation or benefits
                                                                                      related to education” that conferences or
                                                                                      schools may make available. Schools are now
                                                                                      allowed to provide benefits tethered to
                                                                                      education up to $6,000 annually



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                                                                                      Hagens Berman represented developers of iOS
                                                                                      apps sold via Apple’s App Store or featuring in-
                                                                                      app sales, alleging the tech giant engaged in
                                                                                      anticompetitive practices that harmed
                                                                                      developers. The settlement brings important
                                      Apple iOS App Developers
                                                                       $100 million   changes to App Store policies and practices. U.S.
                                      Class Counsel
                                                                                      iOS app developers with less than $1 million per
                                                                                      year in proceeds from App Store sales through
                                                                                      all associated developer accounts across the
                                                                                      nation can receive hundreds to tens of
                                                                                      thousands of dollars from the fund.

                                                                                      This antitrust class action accused Google of
                                                                                      monopolizing its Play Store through
                                                                                      anticompetitive policies, affecting small
                                      Google Play Store App
                                                                                      businesses across the nation. Attorneys for the
                                      Developers                       $90 million
                                                                                      class of roughly 43,000 Android app developers
                                      Co-lead Counsel
                                                                                      say some class members will likely see
                                                                                      payments in the hundreds of thousands of
                                                                                      dollar

                                                                                      In a showcase of Steve’s securities litigation
                                      Zuora Investor Fraud                            expertise, this settlement achieved in 2023
                                                                      $75.5 million
                                      Lead Counsel                                    provides significant relief to purchasers of the
                                                                                      securities of Zuora across the U.S.

                                                                                      Hagens Berman served as lead counsel in this
                                                                                      multidistrict litigation against the NCAA,
                                                                                      achieving medical monitoring and injunctive
                                      NCAA Concussions                                relief in the form of changes to concussion
                                                                       $75 million
                                      Lead Counsel                                    management and return-to-play guidelines. The
                                                                                      lawsuit alleged the institutions neglected to
                                                                                      protect college athletes from concussions and
                                                                                      their aftermath at schools across the country.

                                                                                      This first-of-its-kind lawsuit ushered in the first
                                                                                      time that hardworking college athletes saw
                                      NCAA/Electronic Arts Name                       some of the profits from the use of their
                                      and Likeness                     $60 million    likeness in video games. More than 24,000
                                      Co-lead Counsel                                 individuals were eligible to receive payment,
                                                                                      and checks were issued for up to $7,600, with a
                                                                                      median around $1,100.

                                                                                      As the #MeToo movement hit a fever pitch
                                                                                      moment, Hagens Berman’s Steve Berman
                                      Harvey Weinstein Sexual                         represented a class of those harmed by Harvey
                                                                      $17.1 million
                                      Harassment                                      Weinstein, a kingpin of sexual harassment in
                                                                                      Hollywood. The firm litigated the case through
                                                                                      to bankruptcy proceedings in 2020.

                                                                                      Steve pioneered this first-of-its-kind lawsuit that
                                                                                      ended heading for US Soccer’s youngest players
                                      Youth Soccer Concussions                        to diminish risk of concussions and traumatic
                                                                                      brain injuries, changing the game for youth
                                                                                      players across the U.S.


                                    ACTIVITIES
                                    • In April of 2021, the University of Michigan School for Environment and Sustainability
                                      (SEAS) launched the Kathy and Steve Berman Western Forest and Fire Initiative with
                                      a philanthropic gift from Steve (BS ‘76) and his wife, Kathy. The program will improve


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                                       society’s ability to manage western forests to mitigate the risks of large wildfires,
                                       revitalize human communities and adapt to climate change. Steve studied at the
                                       School of Natural Resources (now SEAS) and volunteered as a firefighter due to his
                                       focus on environmental stewardship. Read more »
                                    • In 2003, the University of Washington announced the establishment of the Kathy and
                                      Steve Berman Environmental Law Clinic. The Berman Environmental Law Clinic draws
                                      on UW’s environmental law faculty and extensive cross-campus expertise in fields
                                      such as Zoology, Aquatic and Fishery Sciences, Forest Resources, Environmental
                                      Health and more. In addition to representing clients in court, the clinic has become a
                                      definitive information resource on contemporary environmental law and policy, with
                                      special focus on the Pacific Northwest.

                                    RECOGNITION
                                    • Antitrust Enforcement Award Honoree, American Antitrust Institute, 2018, 2019,
                                      2021, 2024
                                    • 500 Global Plaintiff Lawyers, Lawdragon, 2024
                                    • 500 Leading Lawyers in America, Plaintiff Financial Lawyers, Lawdragon, 2023-2024
                                    • 500 Leading Lawyers in America, Plaintiff Consumer Lawyers, Lawdragon, 2024
                                    • Lawyer of the Year, Litigation, Securities Litigation, Best Lawyers, 2024
                                    • The Best Lawyers in America, Antitrust Litigation, Best Lawyers, 2024
                                    • The Best Lawyers in America, Securities Litigation, Best Lawyers, 2024
                                    • The Best Lawyers in America, Plaintiffs Mass Tort Litigation/Class Actions, Best
                                      Lawyers, 2024
                                    • The Best Lawyers in America, Plaintiffs Product Liability Litigation, Best Lawyers,
                                      2024
                                    • Legal Lion of the Week as part of the litigation team that achieved class certification
                                      in NCAA Student-Athlete Name, Image and Likeness, Law360, 2023
                                    • Best Lawyers in America in Litigation, Securities and Product Liability Litigation,
                                      Plaintiffs and Other Areas of Note, 2023
                                    • Washington Super Lawyers, 1999-2023
                                    • Titan of the Plaintiffs Bar, Law360, 2018, 2020, 2022
                                    • Leading Commercial Litigators, The Daily Journal, 2022
                                    • Hall of Fame, Lawdragon, 2022
                                    • Plaintiffs’ Attorneys Trailblazer, The National Law Journal, 2017, 2022
                                    • Sports & Entertainment Law Trailblazer, The National Law Journal, 2021
                                    • Class Action MVP of the Year, Law360, 2016-2020
                                    • Elite Trial Lawyers, The National Law Journal, 2014-2016, 2018-2019
                                    • 500 Leading Lawyers in America, Lawdragon, 2014-2019
                                    • State Executive Committee member, The National Trial Lawyers, 2018
                                    • Class Actions (Plaintiff) Law Firm of the Year in California, Global Law Experts, 2017



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                                    • Finalist for Trial Lawyer of the Year, Public Justice, 2014
                                    • One of the 100 most influential attorneys in America, The National Law Journal, 2013
                                    • Most powerful lawyer in the state of Washington, The National Law Journal, 2000
                                    • One of the top 10 plaintiffs’ firms in the country, The National Law Journal

                                    PRESENTATIONS
                                    • Steve is a frequent public speaker and has been a guest lecturer at Stanford
                                      University, University of Washington, University of Michigan and Seattle University
                                      Law School.

                                    PERSONAL INSIGHT
                                    Steve was a high school and college soccer player and coach. Now that his daughter’s
                                    soccer skills exceed his, he is relegated to being a certified soccer referee and spends
                                    weekends being yelled at by parents, players and coaches (as opposed to being yelled
                                    at by judges during the week). Steve is also an avid cyclist and is heavily involved in
                                    working with young riders on the international Hagens Berman Axeon cycling team.




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                                                                                HAGENS BERMAN SOBOL SHAPIRO LLP




                                      PARTNER

                                      Christopher A. O’Hara

                                      Mr. O’Hara plays a key role in working with notice and claims
                                      administrators on all the firm’s class settlements and class
                                      notice programs.
 chriso@hbsslaw.com
                                      CURRENT ROLE
 T 206-623-7292
                                      • Partner, Hagens Berman Sobol Shapiro LLP
 F 206-623-0594
                                      • Practice focuses on antitrust, consumer, tax and securities class actions
 1301 Second Avenue
 Suite 2000
                                      • Serves as plaintiffs’ counsel in Hotel Occupancy Tax litigation against major online
 Seattle, WA 98101
                                        travel companies in various jurisdictions across the country
                                      • Key role in working with claims administrators on all class settlements and class
 YEARS OF EXPERIENCE
                                        notice programs
 34

                                      NOTABLE CASES
 PRACTICE AREAS

 Antitrust Litigation                 • Tobacco Litigation ($260 billion multi-state settlement)
 Class Action                         • Microsoft Antitrust Litigation (20 individual state settlements totaling over
 Consumer Rights                        $2.7 billion)
 Investor Fraud
 Pharmaceutical Fraud                 • Toyota Unintended Acceleration Litigation ($1.6 billion settlement)
 Securities
                                      • In re Electronic Books Antitrust Litigation ($568 million in settlements)
 Tax Law
                                      • In re Stericycle, Inc., Steri-Safe Contract Litigation ($295 million settlement)
 INDUSTRY EXPERIENCE

  Tobacco
                                      • Charles Schwab Yieldplus Funds Securities Litigation ($235 million settlement)
  Online Travel Companies            • In re NCAA Athletic Grant-in-Aid Cap Antitrust Litigation ($208 million settlement)
 BAR ADMISSIONS                       • In re Optical Disk Drive Antitrust Litigation ($180 million in settlements)
  Arizona
                                      • In re Animation Workers Antitrust Litigation ($168.95 million in settlements)
  Washington
                                      • Expedia Hotel Taxes and Fees Litigation ($134 million settlement)
 COURT ADMISSIONS

  U.S. Court of Appeals for the
                                      • In re NCAA Student-Athlete Concussion Litigation ($75 million settlement and 50-year
   Ninth Circuit
                                        medical monitoring program)
                                      • In re Lithium Ion Batteries Antitrust Litigation ($65 million in settlements)
 EDUCATION
                                      • NCAA/Electronic Arts Name and Likeness Litigation ($60 million in settlements)

                                      EXPERIENCE
  Seattle University School of Law,
        J.D., cum laude, 1993         • Cozen & O’Connor, Associate, 1993-1997
                                      • Crowell & Moring, Paralegal, 1988-1990

                                      RECOGNITION
                                      • Rising Star, Washington Law and Politics, 2003



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                                      LANGUAGES
                                      • French
  University of Washington, B.A.,
 Political Science, French Language
         and Literature, 1987


 AWARDS




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                                                                                HAGENS BERMAN SOBOL SHAPIRO LLP




                                     OF COUNSEL

                                     Benjamin J. Siegel

                                     Mr. Siegel is an experienced litigator with a focus on antitrust
                                     law who has represented clients in state and federal courts, on
                                     appeals, as well as before arbitrators and governmental
 bens@hbsslaw.com                    agencies, and has achieved significant settlements for clients.
 T 510-725-3000
 F 510-725-3001                      CURRENT ROLE
                                     • Of Counsel, Hagens Berman Sobol Shapiro LLP
 715 Hearst Avenue
 Suite 300                           RECENT CASES
 Berkeley, CA 94710                  • In re College Athlete NIL Litigation, No. 4:20-cv-03919 (N.D. Cal.)
 YEARS OF EXPERIENCE                 • Carter v. NCAA et al., No. 3:23-cv-06325 (N.D. Cal.)
 16
                                     • In re Optical Disk Drive Prods. Antitrust Litigation, No. 3:10-md-2143-RS (N.D. Cal.)
 PRACTICE AREAS
                                     • Bartron et al. v. Visa Inc. et al., 1:11-cv-01831 (D.D.C.)
 Antitrust Litigation
 Class Action                        • In re NCAA Grant-In-Aid Antitrust Litigation, 4:14-md-02541-CW (N.D. Cal.)
 High Tech Litigation
 Sports Litigation                   • In re Resistors Antitrust Litigation, 5:15-cv-03820-JD (N.D. Cal.)

 BAR ADMISSIONS
                                     EXPERIENCE
  California
                                     • Following his work at Boies, Schiller & Flexner LLP in 2008-2009, Mr. Siegel has
 COURT ADMISSIONS
                                       litigated cases on behalf of plaintiffs for the past 14 years.
  U.S. Court of Appeals for the
                                     LEGAL ACTIVITIES
   Ninth Circuit
  U.S. District Court for the       • Alameda County Bar Association
   Northern District of California
  U.S. District Court for the       RECOGNITION
   Eastern District of California    • Northern California Super Lawyers, 2024
 CLERKSHIPS                          • Legal Lion of the Week as part of the litigation team that achieved class certification
  Honorable Thomas M. Reavley,        in NCAA Student-Athlete Name, Image and Likeness, Law360, 2023
   Fifth Circuit Court of Appeals
                                     • Honoree for Outstanding Antitrust Litigation Achievement in Private Law Practice,
 EDUCATION
                                       American Antitrust Institute, 2021
                                     • Rising Stars, Super Lawyers, 2018
 The University of Texas School of
 Law, The University of Texas LBJ
                                     PUBLICATIONS
   School of Public Affairs, J.D.,   • Constitutional Rights and the Counter-Majoritarian Dilemma, May 15, 2007
  M.P.A., Order of the Coif, High
   Honors, 2007 Articles Editor,       (unpublished Master’s thesis, University of Texas at Austin)
  Texas Law Review; Texas Law
   Review Best Litigation Note,      • Benjamin Siegel, Note, “Applying a ‘Maturity Factor’ Without Compromising the
   Volume 85; Texas Law Public         Goals of the Class Action,” 85 Texas Law Review 74, 2007




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     Interest Fellowship; LBJ        • Benjamin Siegel et al., “Beyond the Numbers: Improving Postsecondary Success
  Foundation Award, First in Class
                                       through a Central Texas High School Data Center,” LBJ School of Public Affairs, Policy
                                       Research Report No. 148, 2005
                                     • Benjamin Siegel, “California Must Protect Health Care for Medi-Cal Children,”
   Yale University, B.A. Political
   Science, cum laude, Phi Beta        15 Youth Law News 1, 2004
           Kappa, 2000
                                     • Jenny Brodsky, Jack Habib and Benjamin Siegel, “Lessons for Long-Term Care Policy,
 AWARDS                                World Health Organization,” Publication No. WHO/NMH7CCL/02.1, 2002
                                     • Jenny Brodsky, Jack Habib, Miriam Hirschfeld and Benjamin Siegel, “Care of the Frail
                                       Elderly in Developed and Developing Countries: the Experience and the Challenges,”
                                       14 Aging Clinical & Experimental Research 279, 2002

                                     PERSONAL INSIGHT
                                     When not working to enforce the nation’s antitrust laws, Mr. Siegel enjoys spending
                                     time with his wife and three young children in his hometown of Oakland, California. He
                                     also likes playing softball and pick-up basketball with his friends.




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                                                                                HAGENS BERMAN SOBOL SHAPIRO LLP




                                      ASSOCIATE

                                      Emilee Sisco

                                      Ms. Sisco is an associate at Hagens Berman and practices in the
                                      areas of sports litigation, antitrust and consumer protection. As
                                      a former Division I athlete, she has worked on the firm’s cases
 emilees@hbsslaw.com
                                      against the NCAA, furthering the rights of college-athletes
                                      across the nation.
 T 206-623-7292
 F 206-623-0594
                                      CURRENT ROLE
 1301 Second Avenue                   • Associate, Hagens Berman Sobol Shapiro LLP
 Suite 2000
 Seattle, WA 98101                    RECENT SUCCESS

 YEARS OF EXPERIENCE                  • Namoff v. Fleishman & Shapiro, P.C. et al.
 9                                    • In re National Prescription Opiate Litigation
 PRACTICE AREAS                       • In re NCAA Athletic Grant-In-Aid Cap Antitrust Litigation
 Antitrust Litigation
                                      • In re General Motors LLC Ignition Switch Litigation
 Class Action
 Consumer Rights
                                      EXPERIENCE
 Sports Litigation
                                      • Law Clerk for Washington State Office of the Attorney General – Antitrust Division
 BAR ADMISSIONS

  Washington                         LEGAL ACTIVITIES
                                      • During 2L and 3L years in law school, Ms. Sisco was a fulltime volunteer intern for the
 COURT ADMISSIONS
                                        WSBA Moderate Means Program. She volunteered more than 250 hours of pro bono
  U.S. District Court for the          service during law school.
     Western District of Washington
                                      RECOGNITION
 EDUCATION
                                      • Legal Lion of the Week as part of the litigation team that achieved class certification
                                        in NCAA Student-Athlete Name, Image and Likeness, Law360, 2023
                                      • 2021, 2019 Honoree for Outstanding Antitrust Litigation Achievement in Private Law
  Seattle University School of Law,     Practice, American Antitrust Institute
                J.D.

                                      LANGUAGES
                                      • Latin
      University of Oregon, B.A.
                                      PERSONAL INSIGHT
                                      Ms. Sisco was a Division I volleyball athlete for the University of Oregon and University
                                      of Colorado. She was a member of the U.S. Women’s Volleyball A3 team and was also a
                                      three-sport varsity athlete throughout high school, earning top 10 state finishes in two
                                      events at the WIAA Track & Field Championship.




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                                                                                HAGENS BERMAN SOBOL SHAPIRO LLP




                                       ASSOCIATE

                                       Stephanie A. Verdoia

                                       Stephanie brings to the firm a deep knowledge of professional
                                       sports policies, protocols and governance to enrich Hagens
                                       Berman’s robust sports law practice.
 stephaniev@hbsslaw.com
                                       CURRENT ROLE
 T 206-623-7292
                                       • Associate, Hagens Berman Sobol Shapiro LLP
 F 206-623-0594
                                       • Ms. Verdoia’s practice at the firm’s Seattle office focuses primarily on sports
 1301 Second Avenue                      litigation, where she applies her deep knowledge of sports governance, policies and
 Suite 2000                              protocols to bolster the firm’s expansive work in this area of law.
 Seattle, WA 98101
                                       EXPERIENCE
 PRACTICE AREAS
                                       • Prior to joining Hagens Berman, Ms. Verdoia interned at Seattle’s Legal Voice, where
 Sports Litigation
                                         she researched legal issues regarding gender equality by analyzing the interplay
 INDUSTRY EXPERIENCE                     between constitutional principles, recently enacted state statutes and prevailing
                                         precedent.
  Sports Governance
  Sports Policy and Protocols         • Ms. Verdoia also interned with the legal department at Seattle Sounders FC, where
                                         she provided legal research and solutions responding to the evolving developments
 COURT ADMISSIONS
                                         of the COVID-19 pandemic.
  U.S. District Court for the
   Western District of Washington      RECOGNITION

 EDUCATION                             • Legal Lion of the Week as part of the litigation team that achieved class certification
                                         in NCAA Student-Athlete Name, Image and Likeness, Law360, 2023

                                       ACTIVITIES
  University of Washington School
    of Law, J.D., 2021, Order of       • Her additional experience in professional sports lends itself to the firm’s sports
              Barristers                 litigation practice area. Ms. Verdoia has years of experience in the realm of
                                         professional soccer as a midfielder in Norway’s Toppserien top division soccer and
                                         with the National Women’s Soccer League (NWSL) both for the Boston Breakers and
                                         most recently the OL Reign (formerly known as Seattle Reign FC).
  Seattle University, B.A. Political
    Science and Legal Studies,         • During her time in these roles, she trained with the top NWSL team to enhance
     summa cum laude, 2015
                                         squad development with the Reign; led Norway’s Vålerenga Fotbal Damer to the
                                         national championship game; and was one of only 36 women nationally drafted into
                                         the professional female league when she began her professional sports career in
                                         2015 with the Boston Breakers.
                                       • Ms. Verdoia has also served as a league representative, helping to take a leadership
                                         role in the sport by conducting conversation with key league figures to further
                                         players’ interests and advance gender equity in sport. She also implemented working
                                         standards to create a safer environment and established a framework for a future
                                         players association.




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                                                                                HAGENS BERMAN SOBOL SHAPIRO LLP




                                    PERSONAL INSIGHT
                                    As a lifelong soccer player, Stephanie spends her free time coaching youth soccer teams
                                    at the OL Reign Academy. She also enjoys camping anywhere in the Pacific Northwest
                                    with her fiancé, Shane, and her dog, Stevie.




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                                                                                HAGENS BERMAN SOBOL SHAPIRO LLP




                                       ASSOCIATE

                                       Meredith S. Simons

                                       Meredith uses her experience in antitrust law to advocate for
                                       consumers who have been overcharged by powerful
                                       corporations.

 merediths@hbsslaw.com
                                       CURRENT ROLE

 T 206-268-9342                        • Associate, Hagens Berman Sobol Shapiro LLP
 F 206-623-0594
                                       EXPERIENCE
 1301 Second Avenue                    • Before joining Hagens Berman, Meredith was an associate at a law firm where she
 Suite 2000                              represented clients ranging from startups to Fortune 100 companies in nationwide
 Seattle, WA 98101                       class actions and high-stakes intellectual property matters. In the course of those
                                         litigations, Meredith argued in state and federal court, took depositions, conducted
 YEARS OF EXPERIENCE
                                         discovery and drafted complaints and motions.
 7
                                       • Meredith served as a law clerk to the Hon. Richard C. Tallman of the Ninth Circuit
 BAR ADMISSIONS                          Court of Appeals.
  California
                                       • Prior to law school, Meredith taught fourth grade in New Orleans as part of Teach for
 COURT ADMISSIONS
                                         America. She also worked as a journalist; her work has appeared in publications
                                         including Slate, the Atlantic and the Washington Post.
  U.S. Court of Appeals for the
     Ninth Circuit
                                       PRO BONO
  U.S. District Court for the
     Central District of California    • At her previous firm, Meredith maintained an active and varied pro bono practice.
                                         She secured a permanent restraining order on behalf of a domestic violence victim,
 CLERKSHIPS                              obtained a favorable result for an immigrant family in deportation proceedings, and
  Honorable Richard C. Tallman,         advised a non-profit dance company on intellectual property issues.
     Ninth Circuit Court of Appeals,
                                       • During law school, Meredith served as a court-appointed advocate for children in the
     2017-2018
                                         Durham, North Carolina foster care system.
 EDUCATION
                                       PERSONAL INSIGHT
                                       Meredith was raised in Texas, which gives her a real appreciation for Seattle’s beautiful
                                       summers. When she’s not working, Meredith is enjoying Seattle’s parks and beaches
     Duke University School of Law,
      J.D., summa cum laude, 2017      with her family.




   University of Oklahoma, B.A. in
    Philosophy and International
  Studies, summa cum laude, 2009




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                                                                                HAGENS BERMAN SOBOL SHAPIRO LLP



TEAM



Hagens Berman Attorneys
At the core of our firm’s success is the individual and collective strength of our legal team who offer
unmatched expertise in a diverse range of industries and skillsets, including forensic accounting, technology
and computing and more. Hagens Berman has expanded its roster of outstanding lawyers thoughtfully,
emphasizing teambuilding and collaboration to give our cases the best opportunity to success through a
network of diverse proficiencies.


ATTORNEY                            OFFICE               TITLE         PRACTICE AREA(S)

Steve W. Berman                    Seattle        Managing Partner      Antiterrorism, Automotive, Civil & Human Rights, Class
                                                                        Action, Consumer Rights, Emissions Litigation,
                                                                        Environmental Litigation, Governmental
                                                                        Representation, High Tech Litigation, Intellectual
                                                                        Property, Investor Fraud, Patent Litigation, Qui Tam,
                                                                        Securities, Sexual Abuse & Harassment, Sports
                                                                        Litigation, Whistleblower
Thomas M. Sobol                    Boston        Partner & Executive    Antitrust Litigation, Class Action, Consumer Rights,
                                                 Committee Member       Pharmaceutical Fraud
Robert B. Carey                    Phoenix       Partner & Executive    Breach of Contract Claims, Class Action, High Tech
                                                 Committee Member       Litigation, High Tech Litigation, Insurance Bad Faith,
                                                                        Personal Injury
Leonard W. Aragon                  Phoenix              Partner         Appellate Advocacy, Class Action, Commercial
                                                                        Litigation, High Tech Litigation, Mass Torts, Personal
                                                                        Injury
Gregory T. Arnold                  Boston               Partner         Antitrust Litigation, Personal Injury
Hannah Brennan                     Boston               Partner         Antitrust Litigation, Civil & Human Rights, Class Action,
                                                                        Consumer Rights, Medical Devices, Pharmaceutical
                                                                        Fraud, RICO
Erin C. Burns                      Boston               Partner         Antitrust Litigation, Class Action, Pharmaceutical
                                                                        Fraud
Elaine T. Byszewski              Los Angeles            Partner         Antitrust Litigation, Appellate Litigation, Class Action,
                                                                        Consumer Rights, Qui Tam
John DeStefano                     Phoenix              Partner         Appellate Advocacy, Class Action, Commercial
                                                                        Litigation, Consumer Rights, Insurance Law
Jeannie Y. Evans                   Chicago              Partner         Antitrust Litigation, Class Action, Consumer Rights,
                                                                        Data Breach, Privacy & Cybersecurity, Fraud, Investor
                                                                        Fraud, Securities
Rachel E. Fitzpatrick              Phoenix              Partner         Class Action, Complex Civil Litigation, Consumer
                                                                        Rights, Mass Torts, Personal Injury
Catherine Y.N. Gannon              Seattle              Partner         Antitrust Litigation, Class Action, Consumer Rights,
                                                                        Securities
Lucas E. Gilmore                  Berkeley              Partner         Class Action, Investor Fraud, Securities
Ben Harrington                    Berkeley              Partner         Antitrust Litigation, Class Action, Consumer Rights,
                                                                        Pharmaceutical Fraud
Anne F. Johnson                   New York              Partner         Antitrust Litigation, Consumer Rights, Personal Injury,
                                                                        Pharmaceutical Fraud




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                                                                                HAGENS BERMAN SOBOL SHAPIRO LLP



Kristen A. Johnson                 Boston               Partner         Antitrust Litigation, Class Action, Consumer Rights,
                                                                        Data Breach, Privacy & Cybersecurity, Pharmaceutical
                                                                        Fraud, RICO
Reed R. Kathrein                  Berkeley              Partner         Class Action, Investor Fraud, Securities
Michella A. Kras                   Phoenix              Partner         Class Action, Commercial Litigation, Complex Civil
                                                                        Litigation, High Tech Litigation, Personal Injury
Daniel J. Kurowski                 Chicago              Partner         Antitrust Litigation, Class Action, Consumer Rights,
                                                                        Pharmaceutical Fraud, Sports Litigation
Robert F. Lopez                    Seattle              Partner         Antitrust Litigation, Class Action, Complex Commercial
                                                                        Health Care Fraud, High Tech Litigation, Intellectual
                                                                        Property, Pharmaceutical Fraud, Privacy Rights, Qui
                                                                        Tam, Securities, Whistleblower
Jessica R. MacAuley                Boston               Partner         Antitrust Litigation, Consumer Rights, Pharmaceutical
                                                                        Fraud
Sean R. Matt                       Seattle              Partner         Antitrust Litigation, Class Action, Consumer Right,
                                                                        Data Breach, Privacy & Cybersecurity, Emissions
                                                                        Litigation, Insurance, Investor Fraud, Products Liability,
                                                                        Securities
Martin D. McLean                   Seattle              Partner         Civil & Human Rights, Insurance Bad Faith, Personal
                                                                        Injury, Public Records Act
Christopher A. O'Hara              Seattle              Partner         Antitrust Litigation, Class Action, Consumer Rights,
                                                                        Investor Fraud, Pharmaceutical Fraud, Securities, Tax
                                                                        Law
Abbye Klamann Ognibene             Boston               Partner         Antitrust Litigation, Class Action, Consumer Rights
Jerrod C. Patterson                Seattle              Partner         Antitrust Litigation, Automotive Litigation, Class
                                                                        Action, Racketeering
Rio S. Pierce                     Berkeley              Partner         Antitrust Litigation, Class Action, Consumer Rights,
                                                                        High Tech Litigation
Christopher R. Pitoun            Los Angeles            Partner         Automotive Litigation, Civil & Human Rights, Class
                                                                        Action, Consumer Rights, Intellectual Property
Shana E. Scarlett                 Berkeley              Partner         Antitrust Litigation, Class Action, Consumer Rights,
                                                                        High Tech Litigation
Craig R. Spiegel                   Seattle              Partner         Antitrust Litigation, Consumer Rights, High Tech
                                                                        Litigation
Shayne C. Stevenson                Seattle              Partner         Appellate Litigation, Civil & Human Rights, Class
                                                                        Action, Securities, Whistleblower (Head of Practice),
                                                                        Anti-Money Laundering Act, CFTC, False Claims Act,
                                                                        IRS, SEC
Whitney Street                     Boston               Partner         Antitrust Litigation, Pharmaceutical Fraud
Jessica Thompson                   Seattle              Partner         Class Action, Consumer Rights, Emissions Litigation,
                                                                        Employment Litigation
Breanna Van Engelen                Seattle              Partner         Antitrust Litigation, Class Action, Consumer Rights
Mark Vazquez                       Chicago              Partner         Class Action
Ted Wojcik                         Seattle              Partner         Antitrust Litigation, Class Action, Environmental
                                                                        Litigation
Garth Wojtanowicz                  Seattle              Partner         Class Action, Consumer Rights, Unfair Competition
Kevin K. Green                    San Diego         Senior Counsel      Antitrust Litigation, Appellate, Consumer Rights,
                                                                        Investor Fraud




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Barbara Mahoney                    Seattle          Senior Counsel      Antitrust Litigation, Class Action, Consumer Rights,
                                                                        Intellectual Property, State False Claims
David P. Moody                     Seattle          Senior Counsel      Civil & Human Rights, Personal Injury
Karl Barth                         Seattle            Of Counsel        Class Action, Investor Fraud, Securities
Mark S. Carlson                    Seattle            Of Counsel        Complex Litigation, High Tech Litigation, Intellectual
                                                                        Property, Misappropriation, Patent Litigation,
                                                                        Trademark and Trade Dress Infringement, Trade
                                                                        Secret
Laura Hayes                        Boston             Of Counsel        Antitrust Litigation, Pharmaceutical Fraud
John D. Jenkins                  Los Angeles          Of Counsel        Securities
Robert A. Jigarjian               Berkeley            Of Counsel        Class Action, Investor Fraud, Securities
James J. Nicklaus                  Boston             Of Counsel        Antitrust Litigation
Hannah Schwarzschild               Boston             Of Counsel        Antitrust Litigation, Consumer Rights
Benjamin J. Siegel                Berkeley            Of Counsel        Antitrust Litigation, Class Action, High Tech Litigation,
                                                                        Sports Litigation
Shelby R. Smith                    Seattle            Of Counsel        Civil & Human Rights, Class Action, Consumer Rights,
                                                                        Daycare/School Negligence, Nursing Home/Adult
                                                                        Family Home Negligence, Personal Injury, Privacy
                                                                        Rights, Social Work Negligence, Sports Litigation
Nathaniel A. Tarnor               New York            Of Counsel        Anti-Terrorism, Antitrust Litigation, Civil & Human
                                                                        Rights, Consumer Rights, Investor Fraud,
                                                                        Whistleblower
Dana Abelson                       Seattle             Associate        Antitrust Litigation
Tory Beardsley                     Phoenix             Associate        Consumer Rights, High Tech Litigation
Jacob Berman                       Seattle             Associate        Class Action, Personal Injury
James M. Chong                     Seattle             Associate        Personal Injury
Rachel Downey                      Boston              Associate        Antitrust Litigation, Class Action, Consumer Rights,
                                                                        Pharmaceutical Fraud
Nathan Emmons                      Chicago             Associate        Investor Fraud
Kelly Fan                          Seattle             Associate        Antitrust Litigation
Rebekah Glickman-Simon             Boston              Associate        Antitrust Litigation, Class Action, Pharmaceutical
                                                                        Fraud
John M. Grant                     Berkeley             Associate        Antitrust Litigation
William R. Kincaid                 Seattle             Associate        Personal Injury
Joseph M. Kingerski                Seattle             Associate        Antitrust Litigation, Automotive Litigation
Raffi Melanson                     Boston              Associate        Antitrust Litigation, Investor Fraud, Securities
                                                                        Litigation
Cooper E. Michael                 Berkeley             Associate        Antitrust Litigation
Claudia Morera                     Boston              Associate        Antitrust Litigation
Chris O’Brien                      Boston              Associate        Class Action
Laura K. Pedersen                 Berkeley             Associate        Antitrust Litigation, Consumer Rights
Abigail D. Pershing              Los Angeles           Associate        Antitrust Litigation, Civil & Human Rights,
                                                                        Environmental Litigation
Ryan T. Pittman                    Seattle             Associate        Personal Injury
Daniel Polonsky                    Boston              Associate        Antitrust Litigation, Class Action
Peter A. Shaeffer                  Chicago             Associate        Securities Litigation


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Alisa V. Sherbow                   Phoenix             Associate        Class Action
Whitney K. Siehl                   Chicago             Associate        Antitrust Litigation, Civil & Human Rights, Class Action,
                                                                        Employment Litigation, Personal Injury, Sexual Abuse
                                                                        & Harassment
Meredith S. Simons                 Seattle             Associate        Antitrust Litigation, Class Action, Consumer Rights,
                                                                        Personal Injury
Emilee N. Sisco                    Seattle             Associate        Antitrust Litigation, Class Action, Consumer Rights,
                                                                        Sports Litigation
Stephanie A. Verdoia               Seattle             Associate        Antitrust Litigation, Sports Litigation
Sophia Weaver                      Boston              Associate        Antitrust Litigation, Class Action
Lauriane Williams                  Boston              Associate        Pharmaceutical Fraud
Abby Wolf                         Berkeley             Associate        Antitrust Litigation
Jongguk Choi                       Seattle          Staff Attorney      Class Action
Audley H. Fuller                   Boston           Staff Attorney      Antitrust Litigation, Class Action
Helen Y. Hsu                       Seattle          Staff Attorney      Antitrust Litigation, Price-fixing Cases
Jeffrey A. Lang                    Seattle          Staff Attorney      Antitrust Litigation, Consumer Rights, Investor Fraud,
                                                                        Pharmaceutical Fraud, Securities
John H.R. Lanou                   Berkeley          Staff Attorney      Antitrust Litigation
Jessica Liang                      Seattle          Staff Attorney      Antitrust Litigation
Allan Lundsgaarde                  Seattle          Staff Attorney      Class Action
Jay Mitchell                       Seattle          Staff Attorney      Class Action, Intellectual Property
Joshua Portney                     Boston           Staff Attorney      Antitrust Litigation, Pharmaceutical Fraud
Matthew Rovner                     Seattle          Staff Attorney      Class Action
Patrick Ryan                       Seattle          Staff Attorney      Antitrust Litigation, Class Action
Jason Stowe                        Seattle          Staff Attorney      Class Action
Zachary Stump                      Seattle          Staff Attorney      Class Action




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ABOUT THE FIRM



Notable Firm Success
TOTAL FIRM SETTLEMENTS VALUED AT $320 BILLION

While many of our firm’s cases harnessed litigation’s power of pinpointed problem solving, Hagens Berman’s
track record of victories spans national issues and brings widespread relief to some of the largest classes ever
certified in U.S. history. Our attorneys’ career highlights encompass the top cases in world history, both in
their historical significance and in their monetary relief, and include the infamous Big Tobacco litigation of
the 90s, Enron pension protection, justice for victims of Harvey Weinstein, restitution for those affected by
Volkswagen’s Dieselgate scandal and more. Since our founding, our firm has made a difference in some of
the most momentous and important moments in history.

$260 Billion                                                       $1.6 Billion
State Tobacco Litigation                                           Toyota Unintended Acceleration Litigation
Hagens Berman represented 13 states prosecuting                    Hagens Berman served as co-lead counsel and
major actions against Big Tobacco. The settlement                  secured what was then the largest automotive
led to a multistate settlement requiring the                       settlement in history in this class action that
tobacco companies to pay the states and submit                     recovered $1.6 billion for vehicle owners.
to advertising and marketing restrictions. It was
the largest civil settlement in history.                           $1.6 Billion
                                                                   Volkswagen Franchise Dealers Emissions
$25 Billion                                                        The firm served as lead counsel representing VW
Visa Check/MasterMoney Antitrust Litigation                        franchise dealers in this lawsuit related to VW’s
The firm served as co-lead counsel in what was                     Dieselgate scandal. The settlement recovered
then the largest antitrust settlement in history.                  nearly full damages for the class.
The class-action lawsuit alleged that Visa and
MasterCard engaged in an anticompetitive                           $1.45 Billion
scheme to monopolize the debit card services                       Meracord Consumer Litigation
market and charge merchants artificially inflated                  The firm secured a default judgment on behalf of
interchange fees by tying merchant acceptance of                   consumers for a useless debt-settlement
their debit card services, Visa Check and                          conspiracy, following years of plaintiff victories in
MasterMoney, to merchant acceptance of their                       the case. Hagens Berman filed its lawsuit in 2011,
credit card services. Settlements secured                          on behalf of consumers nationwide, claiming the
categories of relief that court decisions valued at                company violated Washington law and the federal
as much as $25-87 billion.                                         Racketeer Influenced and Corrupt Organizations
                                                                   Act.
$14.7 Billion
Volkswagen Emissions Litigation                                    $1.3 Billion
Hagens Berman was named a member of the                            Hyundai Kia Theta II GDI Fire Hazard Litigation I
plaintiffs’ steering committee and part of the                     Hagens Berman is co-lead counsel in this case
settlement negotiating team in this monumental                     accusing automakers of selling vehicles with
case that culminated in the largest automotive                     failure-prone engines that could sometimes catch
settlement in history. The firm was the first law                  fire. The case is still pending litigation pertaining
firm to file against Volkswagen regarding its                      to other affected models.
Dieselgate emissions-cheating scandal.




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$700 Million                                                       $385 Million
Mercedes BlueTEC Emissions Litigation                              Suboxone Antitrust
A monumental settlement was reached on behalf                      Hagens Berman was co-lead counsel in this
of owners of Mercedes vehicles affected by                         pharmaceutical antitrust class action alleging
Daimler’s emissions cheating. The case was                         defendants violated federal antitrust laws by
initially filed and researched by Hagens Berman,                   delaying generic competition for its blockbuster
based on the firm’s independent vehicle testing,                   opioid addiction medicine, Suboxone.
and the firm served as co-lead counsel. The
consumer settlement followed a $1.5 billion                        $340 Million
settlement between Mercedes and the U.S.                           Ranbaxy Inc. Antitrust
Justice Department and California Air Resources                    Hagens Berman served as co-lead counsel
Board. The settlement includes an $875 million                     representing Meijer Inc. and Meijer Distribution
civil penalty for violating the Clean Air Act.                     Inc. in a class-action lawsuit against drugmaker
                                                                   Ranbaxy. The lawsuit alleged it recklessly stuffed
$700 Million                                                       the generic drug approval queues with grossly
Washington Public Power Supply System                              inadequate applications and deceiving the FDA
Securities Litigation                                              into granting tentative approvals to lock in
Hagens Berman represented bondholders and the                      statutory exclusivities to which Ranbaxy was not
trustee in a class action stemming from the failure                entitled. Ranbaxy then excluded competition at
of two nuclear projects. Plaintiffs were awarded a                 the expense of U.S. drug purchasers. The
$700 million settlement.                                           settlement was part of a $485 million settlement
                                                                   for all plaintiffs. The result was the second largest
$616 Million                                                       antitrust recovery to receive final approval in
Apple E-Books Antitrust Litigation                                 2022.
Hagens Berman served as co-lead counsel against
Apple and five of the nation’s largest publishing                  $338 Million
companies and secured a combined $616 million                      Average Wholesale Price Drug Litigation
settlement, returning class members nearly twice                   Hagens Berman was lead counsel in this ground-
their losses in recovery, following the firm’s                     breaking drug pricing case against the world’s
victory over Apple after it appealed the case to                   largest pharmaceutical companies, resulting in a
the U.S. Supreme Court.                                            victory at trial. The court approved a total of $338
                                                                   million in settlements.
$453 Million
Glumetza Antitrust Litigation                                      $218 Million
The court denied summary judgment and paved                        JP Morgan Madoff Investor Fraud Litigation
the way for trial in this litigation against brand and             Hagens Berman settled this case on behalf of
generic manufacturers of the diabetes drug                         Bernard L. Madoff investors in a suit filed against
Glumetza. Hagens Berman served as co-lead                          JPMorgan Chase Bank, its parents, subsidiaries
counsel for the direct purchaser class. U.S. District              and affiliates. The settlement against JPMorgan
Judge William Alsup approved $453.85 million in                    involved three simultaneous, separately
settlements resolving direct purchasers’                           negotiated settlements totaling more than $2.2
allegations. The result was the largest antitrust                  billion.
recovery to receive final approval in 2022.
                                                                   $215 Million
$383.5 Million                                                     USC, DR. George Tyndall Sexual Abuse &
DaVita Healthcare Personal Injury Litigation                       Harassment
A Denver jury awarded a monumental $383.5                          The firm served as co-lead counsel and secured a
million verdict to families of three patients who                  $215 million settlement on behalf of a class of
died after receiving dialysis treatments at DaVita                 thousands of survivors of sexual assault against
clinics.                                                           the University of Southern California and its Dr.

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George Tyndall, the full-time gynecologist at USC’s                million settlement resulted in a payment of more
student health clinic.                                             than $13,000 per class member.

$208 Million                                                       $125 Million
NCAA Scholarship Cap Antitrust Litigation                          Pharmaceutical AWP Litigation
Hagens Berman was co-lead counsel in the                           Hagens Berman was lead counsel against 11
damages portion of this historic antitrust class                   pharmaceutical companies, including Abbott
action claiming the NCAA unlawfully capped the                     Laboratories and Watson Pharmaceuticals,
value of athletic scholarships. In a historic ruling,              resulting in multiple settlements between 2006
the U.S. Supreme Court unanimously upheld a                        and 2012. Defendants agreed to pay $125 million
trial victory regarding the injunctive portion of the              in a nationwide settlement for intentionally
case securing monumental improvements for                          inflating reports of the average wholesale prices
college athletes, and forever changing college                     (AWP) on certain prescription medications.
sports. Steve Berman served as trial counsel.
                                                                   $100 Million
$205 Million                                                       Apple iOS App Store Antitrust Litigation
Optical Disc Drives (ODD) Antitrust Litigation                     In this lawsuit against Apple, the firm served as
Hagens Berman served as lead counsel on behalf                     interim lead counsel in this matter and
of consumers in a lawsuit filed against Philips,                   represented U.S. iOS developers against the tech
Pioneer and others for artificially inflating the                  giant. The suit accused Apple of monopolizing
price of ODDs.                                                     distribution services for iOS apps and in-app
                                                                   digital products, allegedly resulting in commission
$200 Million                                                       overcharges. Apple agreed to pay $100 million
New England Compounding Pharmacy                                   and make developer-friendly changes to its App
Meningitis Outbreak Litigation                                     Store policy.
Hagens Berman attorneys served as lead counsel
for the plaintiffs’ steering committee on behalf of                $95 Million
plaintiff-victims of the 2012 fungal meningitis                    AppleCare Consumer Litigation
outbreak that led to more than 64 deaths and                       This class action secured compensation for
hundreds of joint infection cases.                                 iPhone, iPad and iPod owners who bought
                                                                   AppleCare or AppleCare+ coverage. The suit
$181 Million                                                       accused Apple of using inferior, refurbished or
Broiler Chicken Antitrust Litigation                               used parts in device replacements, despite
Hagens Berman serves as interim class counsel in                   promising to provide consumers with a device
a case against Tyson, Purdue and 16 other chicken                  “equivalent to new in performance and
producers for allegedly conspiring to stabilize                    reliability,” and Hagens Berman reached a
chicken prices by reducing production. The firm                    settlement with the tech giant in April 2022,
continues to litigate the case against remaining                   resolving these claims.
defendants.
                                                                   $90 Million
$169 Million                                                       Google Play Store App Developers Antitrust
Animation Workers Antitrust Litigation                             Litigation
Hagens Berman was co-lead counsel for a class of                   The firm filed a class action on behalf of Android
approximately 10,000 animators and other artistic                  app developers for violating antitrust laws by
workers in an antitrust class action against Pixar,                allegedly illegally monopolizing markets for
DreamWorks, The Walt Disney Company, Sony                          Android app distribution and in-app payment
and others for allegedly conspiring to restrain                    processing. A $90 million settlement has been
competition and suppress industry wages. A $169                    preliminarily approved.




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ABOUT THE FIRM



Record-Breaking Achievements
Hagens Berman’s caseload is home to many superlatives, including the largest settlement in world history,
and at the time the largest automotive, antitrust, ERISA and securities settlements in U.S. history, as well the
record-breaking recoveries and class certifications, spanning across the country. The firm’s attorneys have
brought many cases that have pioneered case law, securing first-of-its-kind successes.


                                               SETTLEMENT
  CASE NAME                                      AMOUNT              RECORD-BREAKING ACHIEVEMENT


 State Tobacco Litigation
 Special Assistant Attorney                   $260 Billion                    The largest civil settlement in history.
 General

 Visa Check/MasterMoney
                                                                                 The largest antitrust settlement
 Antitrust Litigation                          $25 Billion
                                                                                      in history at the time.
 Co-Lead Counsel

 VW/Porsche/Audi Emissions                                               Hagens Berman was the first firm to file, and
                                              $14.7 Billion
 Plaintiffs' Steering Committee                                       it is the largest automotive settlement in history.

 VW Franchise Dealerships
                                               $1.6 Billion            The settlement recovered nearly full damages.
 Lead Counsel

                                                                        The Toyota SUA settlement was the largest
 Toyota Sudden, Unintended                                          automotive settlement in history at the time, only to
 Acceleration (SUA)                            $1.6 Billion             be surpassed by the firm’s later $14.7 billion
 Co-Lead Counsel                                                       settlement with Volkswagen for its Dieselgate
                                                                                         scandal.

                                                                     The case was one of the most complex and lengthy
                                                                    securities fraud cases ever filed. The default was one
 Washington Public Power                                              of the largest municipal bond defaults in history.
                                              $700 Million
 Supply System                                                        After years of litigation, plaintiffs were awarded a
                                                                      settlement agreement brought against more than
                                                                                         200 defendants.




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                                                                     This case was largely the result of managing partner
 Daimler Mercedes BlueTEC                                                Steve Berman’s foresight. When news of the
                                                                      Volkswagen emissions-cheating scandal broke, the
 Emissions                                    $700 Million
                                                                    firm purchased a Mercedes and an emissions testing
 Co-Lead Counsel                                                       machine and hired a team of experts to conduct
                                                                                     independent testing.

 Apple E-Books Antitrust
                                                                              This settlement returned nearly twice
 Litigation                                   $616 Million
                                                                                  their losses to class members.
 Co-Lead Counsel

 Glumetza                                                                        The largest antitrust recovery to
                                              $453 Million
 Co-Lead Counsel                                                                  receive final approval in 2022.

 DaVita Healthcare Partners
                                                                             The largest verdict in medical malpractice
 Personal Injury                              $383 Million
                                                                                         litigation of 2018.
 Counsel

                                                                     The settlement created a 4 percent price reduction
 First Databank                               $350 Million
                                                                          in all retail drugs, among other benefits.

 Ranbaxy Inc. Antitrust                                                        The second largest antitrust recovery
                                              $340 Million
 Co-Lead Counsel                                                                 to receive final approval in 2022.

 Enron ERISA
                                              $250 Million           The largest ERISA settlement in history at the time.
 Co-Lead Counsel

 Aequitas Capital
                                                                                Believed to be the largest securities
 Management                                   $234 Million
                                                                                   settlement in Oregon history.
 Co-Lead Counsel

                                                                          In a historic ruling, the U.S. Supreme Court
 NCAA Athletic Grant-in-Aid                                            unanimously upheld a trial victory regarding the
 Cap Antitrust                                $208 Million           injunctive portion of the case securing monumental
 Co-Lead Counsel                                                        improvements for college athletes, and forever
                                                                                    changing college sports.

 Expedia Hotel Taxes & Fees                                             The largest consumer class-action settlement
                                              $123 Million
 Litigation                                                                in the state of Washington at the time.

                                                                     In addition to a $100 million settlement in the case,
                                                                     Apple agreed to make pro-developer changes to its
 Apple iOS App Developers
                                              $100 Million             app store policies and reduce the commission it
 Class Counsel
                                                                       charged small developers by 50% for a period of
                                                                                          three years.




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                                                                               The second largest settlement in the
 Boeing                                        $92 Million
                                                                                     Northwest at the time.

                                                                        The litigation revealed problems with the city’s
                                                                       infrastructure (that were leading to nonexistent
                                                                      chlorine levels in parts of the city), and the lawsuit
 City of Sycamore Water
                                                                        led the city to replace most lead service lines
 Contamination
                                                                           throughout town, and the infrastructure
                                                                            improvements should benefit residents
                                                                                      for decades to come.

                                                                     This litigation alleges that the nation’s largest broiler
                                             $181 million               chicken producers conspired to fix the price of
                                             preliminarily           chicken for consumers by up to 50 percent. The firm
 Broilers Chicken Antitrust
                                            approved, class              estimates that the recent class certification,
 Co-Lead Counsel
                                             certification           comprising every American who purchased chicken
                                               granted                         from a grocery store, may represent
                                                                         the largest class certification in U.S. history.




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ABOUT THE FIRM



Awards
            Outstanding Antitrust Litigation Achievement Honoree
                                        AMERICAN ANTITRUST INSTITUTE
                                                  In re NCAA Athletic                 Edwards v. National Milk
      Cameron et al v. Apple
                                                   Grant-in-Aid Cap                    Producers Federation

          Top Verdict of the Year                                             Antitrust Practice Group
       EA/Madden NFL Video Game
             Development
                                                                                     of the Year
                                                                                          LAW360
                  THE DAILY JOURNAL



                   Most Feared                                          Class Action Practice Group
                  Plaintiffs Firms                                              of the Year
                           LAW360                                                         LAW360



            Elite Trial Lawyer                                                Top 10 Plaintiffs’ Firms
       Litigation Firm of the Year                                                in the Country
           THE NATIONAL LAW JOURNAL                                           THE NATIONAL LAW JOURNAL



           The Best Law Firms in                                        Leading Plaintiff Consumer
                 America                                                   Lawyers in America
                      BEST LAWYERS                                                     LAWDRAGON



         MVP of the Year Award
                                                                       500 Global Plaintiff Lawyers
             Class Action                                                              LAWDRAGON
                           LAW360




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ABOUT THE FIRM



Accolades
“[A] clear choice emerges. That choice is the Hagens Berman firm.”
    — U.S. District Court for the Northern District of California, In re Optical Disk Drive Products Antitrust Litigation
      Appointing the firm lead counsel in the case which would later usher in $205 million in settlements.


“Landmark consumer cases are business as usual for Steve Berman.”
    — The National Law Journal, naming Steve Berman one of the 100 most influential attorneys in the nation for
      the third time in a row


“Berman is considered one of the nation’s top class action lawyers.”
    — Associated Press


“unprecedented success in the antitrust field”
    — California Magistrate Judge Nathanael M. Cousins
      A July 2015 order awarding attorneys’ fees in student-athlete name and likeness litigation


“All right, I think I can conclude on the basis with my five years with
you all, watching this litigation progress and seeing it wind to a
conclusion, that the results are exceptional…You did an exceptionally
good job at organizing and managing the case…”
    — U.S. District Court for the Northern District of California, In re Dynamic Random Access Memory Antitrust
      Litigation
      Hagens Berman was co-lead counsel and helped achieve the $406 million class settlement.


“aggressive and independent advocacy”
    — Hon. Thomas M. Durkin in an order appointing Hagens Berman as interim class counsel in In re Broiler
      Chicken Antitrust Litigation


“Class counsel has consistently demonstrated extraordinary skill and
effort.”
    — Hon. James Selna, Central District of California, In Re: Toyota Motor Corp. Unintended Acceleration
      Marketing, Sales Practices, And Products Liability Litigation
      The firm was appointed co-lead counsel without submitting to lead the case, and later achieved what was
      then the largest settlement in history brought against an automaker – $1.6 billion.


“…I have never worked with such professional, decent counsel.”
    — Hon. Dennis M. Cavanaugh, United States District Judge (Retired), Transcript Of Proceedings Fairness Hearing
      for In Re Mercedes-Benz Emissions Litigation
      Hagens Berman helped secure a $700 million settlement for class members and served as co-lead counsel.




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“...This result...puts significant money into the pockets of all of the class
members, is an excellent result. ...I’ve also looked at the skill and quality
of counsel and the quality of the work... and find that to have been at a
high level.”
    — Hon. Beth Labson Freeman, United States District Judge, Final Approval of Settlement Hearing for Dean
      Sheikh et al v. Tesla, Inc.


“...respective clients certainly got their money’s worth with these
attorneys and the work that they did on their behalf. …Plaintiffs did an
excellent job on behalf of their clients in this case.”
    — Hon. Dennis M. Cavanaugh, United States District Judge (Retired)
      Proceedings Fairness Hearing for In Re Mercedes-Benz Emissions Litigation


“Class Member reaction to the Mercedes Settlement is overwhelmingly
positive.”
    — Hon. Dennis M. Cavanaugh (Ret.) Special Master, In Re Mercedes-Benz Emissions Litigation


“I will reiterate that class counsel has demonstrated over many years,
superior experience and capability in handling class actions of this sort.”
    — Hon. Beth Labson Freeman, United States District Judge, Final Approval of Settlement Hearing for Dean
      Sheikh et al v. Tesla, Inc.


“Plaintiffs have zealously litigated this case on behalf of the class over
the course of eight years...the reaction of the class members has been
overwhelmingly positive.”
    — Hon. Jeffrey S. White
      Order finalizing $28 million settlement in a class action against Schneider National Carriers Inc.




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